         Case 1:18-md-02865-LAK            Document 790        Filed 04/22/22     Page 1 of 86




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


     In re

     CUSTOMS AND TAX ADMINISTRATION                    MASTER DOCKET
     OF THE KINGDOM OF DENMARK
     (SKATTEFORVALTNINGEN) TAX                         18-md-2865 (LAK)
     REFUND SCHEME LITIGATION




JOINT RULE 56.1 STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT
                 OF MOTIONS FOR SUMMARY JUDGMENT

             Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Rule 56.1 of the Local Rules

of the United States District Courts for the Southern and Eastern Districts of New York, and

Pretrial Order No. 29, Plaintiff Skatteforvaltningen (“SKAT”) and Defendants and Third-Party

Defendant listed on Exhibit A to this Statement respectfully state that the following are the

material facts as to which there is no genuine issue to be tried:

I.           The Plaintiff

             1.     The plaintiff, SKAT, is the agency of the government of the Kingdom of

Denmark charged with the assessment and collection of Danish taxes. Skatteforvaltningen v.

RJM Capital Pension Plan et al. (“RJM Compl.”), No. 19-cv-01898 (S.D.N.Y.), ECF No. 60, ¶

1; Response to Request for Admission No. 2.

             2.     SKAT is part of the government of the Kingdom of Denmark. Response to

Request for Admission No. 1.

             3.     SKAT is part of the Danish Ministry of Taxation.
      Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 2 of 86




         4.     During the period 2012 to 2015, SKAT maintained multiple bank accounts in its

own name for the purpose of carrying out its operations. Declaration of Gry Ahlefeld-Engel,

dated July 12, 2019, ECF No. 160, ¶ 5.

         5.     During the period 2012 to 2015, SKAT received tax and other incoming payments

into its bank accounts. Id.

         6.     During the period 2012 to 2015, SKAT paid tax refunds and other payments to

third parties out of its bank accounts. Id.

         7.     SKAT paid the money to which the defendant pension plans claimed to be

entitled to in the refund applications at issue to third parties designated by the defendant pension

plans. See, e.g., id. ¶ 6.

         8.     SKAT made all such payments to the defendant pension plans’ designees from

bank accounts SKAT maintained in its own name. See, e.g., id.

         9.     After SKAT collects taxes into its own accounts, it transfers the tax revenues and

other funds that it collects into an account at the Danish Central Bank. Brochner Tr. 24:17-25:2.

         10.    SKAT has no discretion as to what to do with the money it collects. Brochner Tr.

26:13-17.

         11.    The money that SKAT deposits in the account at the Danish Central Bank belongs

to the Kingdom of Denmark. Brochner Tr. 24:17-25:2, 25:24-26:3.

         12.    Each year, the Danish parliament passes a Finance Act. Brochner Tr. 23:25-

24:16.

         13.    The Finance Act lists all the taxes that SKAT is responsible for collecting.

Brochner Tr. 23:25-24:16.




                                                -2-
      Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 3 of 86




       14.     The Ministry of Finance is authorized to spend the tax revenues SKAT collects

and deposits at the Danish Central Bank as set forth in the Finance Act or other spending

legislation passed by the Danish Parliament. Brochner Tr. 24:17-25:15.

       15.     SKAT is obligated to collect all taxes due under the Finance Act for any particular

year and transfer all the revenues it collects to the account at the Danish Central Bank. Brochner

26:21-29:4

       16.     SKAT has sued a Canadian pension plan in Denmark seeking the recovery of

dividend withholding tax it previously paid to the pension plan.

       17.     SKAT commenced the suit against the Canadian pension plan in its own name,

not in the name of the Kingdom of Denmark.

II.    SKAT’s Administration Of Dividend Withholding Tax Refunds

       18.     Between 2012 and 2015, Section 65 of the Danish Withholding Tax Act generally

required Danish companies to withhold as tax 27% of the dividend distributed as to their shares.

RJM Compl. ¶ 20; Response to Request for Admission No. 131.

       19.     Danish companies are required to pay that tax directly to SKAT.

       20.     Shares of listed Danish corporations exist in dematerialized form. See, e.g.,

Ekstrand Tr. 124:17-21. This means that financial instruments exist only as book entry records.

Regulation (EU) No 909/2014; Ekstrand Tr. 124:17-125:4.

       21.     Electronic bookkeeping rather than the physical movement of paper securities was

used at all material times with respect to trading in the stocks of the companies that issued

dividends for which defendants requested reclaims. Response to Request for Admission 56, 57.




                                               -3-
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 4 of 86




         22.   Recipients of dividends disbursed or paid by Danish companies who are resident

in countries with which Denmark has a double taxation treaty may be entitled to pay less than

27% tax or no tax at all on dividends. Response to Request for Admission No. 132.

         23.   Shareholders may seek reclaims of dividend withholding tax by submitting to

SKAT completed copies of SKAT Form 06.003 with supporting documents. Ekstrand Tr. 71:9-

72:10.

         24.   SKAT refers to the process of seeking refunds by submitting Form 06.003 to

SKAT as the “Form Scheme.” Rømer Tr. 49:17-50:14; Ekstrand Tr.71:21-72:15.

         25.   Form 06.003 includes a box to indicate whether the submission is made by the

beneficial owner or on behalf of the beneficial owner.

         26.   On SKAT’s Form 06.003, SKAT construed the term “beneficial owner” to refer

to beneficial owner status under Danish law, which might include consideration of Danish tax

law depending on the facts and circumstances of any particular claim and incorporated the

concept of beneficial ownership as used in double taxation treaties and in the Model Tax

Convention published by the Organisation for Economic Cooperation and Development

(“OECD”). Response to Request for Admission Nos. 48, 49.

         27.   Danish law, which might include consideration of Danish tax law depending on

the facts and circumstances of any particular claim and incorporated the concept of beneficial

ownership as used in double taxation treaties and in the Model Tax Convention published by the

OECD, was the relevant law for determining who was the beneficial owner of shares that were

the subject of claims for dividend withholding tax. Response to Request for Admission Nos. 44,

45; Jeppesen Tr. 143:8-18.




                                              -4-
      Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 5 of 86




       28.     Danish law, which incorporated the concept of beneficial ownership as used in

double taxation treaties and in the Model Tax Convention published by the OECD, was the

relevant law for determining entitlement to refunds of dividend withholding tax. Response to

Request for Admission No. 42.

       29.     A recipient of dividends whose dividend tax has been withheld in connection with

the distribution of dividends from a Danish company may apply for a refund if the recipient is

not fully liable to pay tax in Denmark and is subject to a double taxation treaty, in which case,

the refund is a payment back of excess amounts of dividend tax. SKAT_MDL_001_0075875.

       30.     In such circumstances, the refund reflects the difference between the withheld

dividend tax rate and the rate applicable to the shareholder based on the double taxation treaty.

SKAT_MDL_001_0075875.

       31.     In addition to requiring applicants seeking reclaims of withheld dividend tax to

submit Form 06.003, SKAT also required supporting documentation from third-party financial

institutions and foreign tax authorities to be submitted with a claim. See, e.g., Ekstrand Tr.

43:13-46:14.

       32.     SKAT verified the claimant’s entitlement to a refund of withheld dividend tax by

requiring supporting documentation from third-party financial institutions and foreign tax

authorities to be submitted with the claim. See, e.g., Response to Request for Admission No. 9.

       33.     SKAT knew as a matter of practice that it did not further verify the information

from third-party financial institutions and/or foreign tax authorities before paying refunds.

Response to Request for Admission No. 16A; Rømer Tr. 199:3-10.

       34.     United States pension plans could not obtain reclaims of withholding tax from any

part of the Danish government other than SKAT. See Ekstrand Tr. 72:11-15.



                                                -5-
      Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 6 of 86




       35.     Only SKAT could approve the payment of a refund of dividend withholding tax.

Ekstrand Tr. 73:1-8.

       36.     No other part of the Danish government can approve the payment of a refund of

dividend withholding tax. Ekstrand Tr. 73:1-8.

       37.     On June 16, 2015, SKAT received information indicating that some unidentified

claimants may have submitted fraudulent claims for refunds of dividend withholding tax based

on the double taxation treaty between Denmark and Malaysia. Response to Request for

Admission No. 20; Ex. 3062.

       38.     Prior to August 24, 2015, SKAT accepted a copy of Internal Revenue Service

Form 6166 as sufficient evidence that the relevant claimant was a trust forming part of a pension,

profit sharing, or stock bonus plan qualified under section 401(a) of the U.S. Internal Revenue

Code. Response to Request for Admission No. 52.

       39.     Prior to August 24, 2015, SKAT did not require a U.S. pension plan claimant to

provide any document other than a copy of Internal Revenue Service Form 6166 to demonstrate

that such claimant was a trust forming part of a pension, profit sharing, or stock bonus plan

qualified under section 401(a) of the U.S. Internal Revenue Code. Response to Request for

Admission No. 53.

       40.     Prior to August 24, 2015, SKAT did not, at any point, inquire into or verify the

source of any contribution to any U.S. pension plan claimant. Response to Request for

Admission No. 54.

       41.     Prior to August 24, 2015, SKAT did not, at any point, inquire into or verify the

nature of any business activities conducted by any sponsoring entity associated with any U.S.

pension plan claimant. Response to Request for Admission No. 55.



                                               -6-
      Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 7 of 86




       42.     Between January 1, 2012 and August 31, 2015, SKAT never asked a claimant, in

connection with a claim, if it purchased shares from a short-seller. Response to Request for

Admission No. 59.

       43.     Between January 1, 2012, and August 31, 2015, SKAT never asked a claimant, in

connection with any claim, if it financed 100% of the cost of the shares referenced in any claim.

Response to Request for Admission No. 62.

       44.     Between January 1, 2012, and August 31, 2015, SKAT never asked a claimant, in

connection with any claim, about the settlement terms of any purchase of any Danish shares.

Response to Request for Admission No. 119.

       45.     Between January 1, 2012, and August 31, 2015, SKAT never inquired about the

length of time any claimant owned a stock prior to declaration of a dividend before SKAT paid a

refund. Response to Request for Admission No. 123.

       46.     Between January 1, 2012, and August 31, 2015, SKAT did not require a claimant

to have owned a stock for any specific minimum amount of time prior to declaration of a

dividend in order to be eligible for a refund, so long as the claimant owned the stock as of the

date of the declaration of the dividend and held the stock until after that date. Response to

Request for Admission No. 124.

       47.     Between January 1, 2012, and August 31, 2015, SKAT did not require a claimant

to have owned a stock for any specific minimum amount of time following declaration of the

dividend in order to be eligible for a refund, so long as the claimant owned the stock as of the

date of the declaration of the dividend and held the stock until after that date. Response to

Request for Admission No. 125.




                                               -7-
      Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 8 of 86




       48.     Between January 1, 2012, and August 31, 2015, SKAT did not inquire about the

length of time a claimant held a stock in connection with any claim. Response to Request for

Admission No. 126.

       49.     To be entitled to a refund for a dividend withholding tax, SKAT required, among

other things, a claimant to have “a legal, binding agreement” to purchase the shares “at the latest,

on the date of the annual general meeting” of the issuer. Ekstrand Tr. 144:16-145:16.

       50.     SKAT determined that certain claimants, including the defendant plans in each

bellwether case, were not entitled to refunds of withholding tax based, in part, on Danish law

principles which are restated in Section 69B of the Danish Withholding Tax Act. Response to

Request for Admission No. 51; SKAT_MDL_001_00059474 (RJM Capital);

SKAT_MDL_001_00057166 (Basalt); SKAT_MDL_001_00056924 (Roadcraft);

SKAT_MDL_001_0064473 (FWC); SKAT_MDL_00l_046749 (Proper Pacific).

       51.     Sven Nielsen was generally the person within SKAT primarily responsible for

processing all incoming reclaim applications via the Form Scheme. Ekstrand Tr. 32:15-33:10;

Rømer Tr. 60:6–13, 81:25–82:19, 87:15-21; Madsen Tr. 24:8-28:9.

       52.     All reclaim applications at issue in this matter were submitted via the Form

Scheme.

       53.     From January 1, 2012 to December 31, 2015, SKAT knew the amount of refunds

SKAT paid every month. Response to Request for Admission No. 38; Ekstrand Tr. 53:19-54:11.

       54.     In 2010, SKAT paid refunds of dividend withholding tax totaling approximately

DKK 0.7 billion, of which approximately DKK 0.2 billion was paid via SKAT’s Form Scheme.

Response to Request for Admission Nos. 27, 33.




                                               -8-
     Case 1:18-md-02865-LAK         Document 790       Filed 04/22/22     Page 9 of 86




       55.    In 2011, SKAT paid refunds of dividend withholding tax totaling approximately

DKK 1.1 billion, of which approximately DKK 0.3 billion was paid via SKAT’s Form Scheme.

Response to Request for Admission Nos. 28, 34.

       56.    In 2012, SKAT paid refunds of dividend withholding tax totaling approximately

DKK 1.5 billion, of which approximately DKK 0.4 billion was paid via SKAT’s Form Scheme.

Response to Request for Admission Nos. 29, 35.

       57.    In 2013, SKAT paid refunds of dividend withholding tax totaling approximately

DKK 2.8 billion, of which approximately DKK 1.5 billion was paid via SKAT’s Form Scheme.

Response to Request for Admission Nos. 30, 36, 78; SKAT_MDL_001_0075894.

       58.    In 2014, SKAT paid refunds of dividend withholding tax totaling approximately

DKK 6.1 billion, of which approximately DKK 4.1 billion was paid via SKAT’s Form Scheme.

Response to Request for Admission Nos. 31, 37, 79; SKAT_MDL_001_0075895.

       59.    In each of May and June 2014, SKAT paid almost DKK 1 billion more in refunds

than it had in the same months in 2013. Response to Request for Admission No. 79;

SKAT_MDL_001_0075895.

       60.    From January to July 2014, SKAT had refunded approximately DKK 1.3 billion

more than in all of 2013. Response to Request for Admission No. 79;

SKAT_MDL_001_0075895; Brochner Tr. 105:12–21.

       61.    In the first seven months of 2015, SKAT paid refunds of dividend withholding tax

totaling approximately DKK 8.7 billion. Response to Request for Admission Nos. 32, 80;

SKAT_MDL_001_0075835 (page -896).




                                            -9-
     Case 1:18-md-02865-LAK          Document 790       Filed 04/22/22      Page 10 of 86




       62.    On at least one occasion prior to January 1, 2015, SKAT paid dividend

withholding tax refunds in excess of the dividend withholding tax liability owed to SKAT for a

particular dividend distribution. Response to Request for Admission No. 106.

       63.    Prior to January 1, 2015, SKAT had access to data that could have shown that

SKAT paid refunds exceeding dividend withholding taxes owed to SKAT for certain dividend

distributions. Response to Request for Admission Nos. 107, 108, 109.

       64.    As part of its administration of dividend withholding tax, SKAT did not analyze

whether the claimant purchased shares from a seller who had borrowed the shares sold, or

whether the claimant had loaned the shares for which it was seeking a refund. Madsen Tr.

150:1-13, 162:22-163:20; Ex. 4006.

       65.    Between June 16, 2015, and June 18, 2015, a whistleblower communicated

multiple times with Anne Munksgaard, the director of SKAT’s anti-fraud unit, via telephone and

email to inform SKAT of a suspected fraud upon the Danish tax system involving dividend

withholding tax reclaims. Munksgaard Tr. 13:16–16:5, 27:15–29:2, 38:4-23; 41:8-23;

Declaration of Sarah L. Cave, dated November 30, 2018, Ex. 3, ECF No. 41-3.

       66.    Munksgaard replied to the whistleblower via email dated June 16, 2015 and

stated: “We will look into it.” Munksgaard Tr. 36:18-22; Ex. 3063; Declaration of Sarah L.

Cave, dated November 30, 2018, Ex. 3, ECF No. 41-3.

       67.    In a June 16, 2015 email, the whistleblower identified five specific reclaim agents

allegedly involved in the alleged fraud -- “Goal TaxBack Ltd., Tim Partners, acupay’s, SEB

Futures and SynTax GIS.” Declaration of Sarah L. Cave, dated November 30, 2018, Ex. 3, ECF

No. 41-3; Munksgaard Tr. 33:14-34:17.




                                             - 10 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 11 of 86




       68.     On June 18, 2015, SKAT received additional information indicating the names of

25 “foreign companies” that “have allegedly been the formal owner of the shares represented by

the reclaim agents in connection with their request for the payment of withholding dividend

taxes.” Declaration of Sarah L. Cave, dated November 30, 2018, Ex. 3, ECF No. 41-3. 19 of the

25 “foreign companies” included “Pension Plan” in their titles. One of the 25 “foreign

companies” was listed as “RIM Capital Pension Plan.” Id.

       69.     Beginning on or about July 27, 2015, officials from the UK tax authorities

(HMRC) sent their Danish counterparts information related to a suspected fraud concerning

dividend taxes. SKAT_MDL_001_00683939 - SKAT_MDL_001_00683942;

SKAT_MDL_001_00680772 – SKAT_MDL_001_00680774; Munksgaard Tr. 55:5-19.

       70.     The information from HMRC included an identification of the reclaim agents, the

custodians, and a description of the trading. The letter also refers to the Dividend Credit Advices

(DCAs). SKAT_MDL_001_00680772 – SKAT_MDL_001_00680774.

       71.     HMRC provided the information to SKAT under the relevant Exchange of

Information provisions of the double taxation convention between Denmark and the United

Kingdom, and HMRC explicitly requested the information not be used in judicial proceedings

without HMRC’s permission. SKAT_MDL_001_00680772 – SKAT_MDL_001_00680774.

       72.     The information from HMRC included the names of 184 entities allegedly used to

receive dividend withholding tax refunds from SKAT. SKAT_MDL_001_00683939 -

SKAT_MDL_001_00683942; SKAT_MDL_001_00680829 – SKAT_MDL_001_00680832.

       73.     Among the pension plans identified for SKAT by HMRC were RJM Capital LLC

Pension Plan, Basalt Ventures LLC Roth 401(k) Plan, Roadcraft Technologies LLC Roth 401(k)




                                              - 11 -
       Case 1:18-md-02865-LAK        Document 790        Filed 04/22/22      Page 12 of 86




Plan, and The FWC Capital LLC Pension Plan. SKAT_MDL_001_00680829 –

SKAT_MDL_001_00680832.

        74.    Jens Brochner testified that the tip SKAT received was “very specific, so there

was a possibility of investigating it.” Brochner Tr. 113:9–16.

        75.    SKAT noted coincidences between the information from the whistleblower in

June and the information it received from UK authorities. SKAT_MDL_001_00683939 -

SKAT_MDL_001_00683942.

        76.    On August 6, 2015, SKAT temporarily stopped paying refunds while it

investigated the purportedly fraudulent scheme. Response to Request for Admission No. 22.

        77.    By September 1, 2015, SKAT began an investigation concerning possibly

fraudulent reclaims submitted by Defendants. Response to Request for Admission No. 5.

III.    The Solo Pension Plans

        78.    Each bellwether pension plan defendant was organized under the laws of the

United States. Response to Request for Admission No. 115.

        79.    RJM Capital LLC was formed in 2007. RJM Capital LLC sponsored the RJM

Capital Pension Plan (“the RJM Plan”), which is a prototype 401(k) plan formed on February 1,

2013. Richard Markowitz was the sole participant. Wagner Report ¶ 41 (quoting

WH_MDL_00331778; WH_MDL_00356182 at -193).

        80.    The Basalt Ventures LLC was formed in June 2014. JHVM_0002855;

JHVM_0001927. Basalt Ventures LLC sponsored the Basalt Ventures LLC Roth 401(k) Plan

(“the Basalt Plan”), which is a prototype 401(k) plan formed in July 2014.

WH_MDL_00147329; WH_MDL_00339896 - WH_MDL_00339997. John van Merkensteijn

was the sole participant. van Merkensteijn Tr. 61:14-20; Ex. 2273.



                                              - 12 -
     Case 1:18-md-02865-LAK          Document 790       Filed 04/22/22     Page 13 of 86




       81.    The Roadcraft Technologies LLC was formed in June 2014.

WH_MDL_00337012. The Roadcraft Technologies LLC sponsored the Roadcraft Technologies

LLC Roth 401(k) Plan (“the Roadcraft Plan”), which is a prototype 401(k) plan formed in July

2014. WH_MDL_00413556; WH_MDL_00024959 - WH_MDL_00025059. Ronald Altbach

was the sole participant. Roadcraft Am. Compl. ¶ 18.

       82.    Routt Capital LLC was formed in February 2014. WH_MDL_00115030. Routt

Capital LLC sponsored the Routt Capital LLC Solo 401k Plan (“the Routt Plan”), which was

formed in February 2014. WH_MDL_00001365. At the time of its formation, Richard

Markowitz was the sole participant. The Routt Capital Trust (“Routt Trust”) was formed in

February 2014 between Routt Capital LLC as the employer and Richard Markowitz as the

trustee. WH_MDL_00000366; WH_MDL_00115030.

       83.    The STOR Capital Consulting LLC was formed in December 2008.

STOR00001403-05. The STOR Capital Consulting sponsored The Stor Capital Consulting LLC

401K Plan (“the STOR Plan”), which was formed in May 2014. STOR00001214-1350. Robert

Klugman was the sole participant. STOR00000098. The RAK Investment Trust (“RAK Trust”)

was formed in May 2014 and Robert Klugman was the trustee. STOR00001133.

       84.    In August 2014, the Roadcraft Plan entered a partnership with the Routt Trust and

the RAK Trust. WH_MDL_00029401.

       85.    Under the partnership agreement, of the profits earned by the partnership, 70%

would be distributed to the Routt Trust, 25% would be distributed to the RAK Trust, and 5%

would be distributed to the Roadcraft Plan. WH_MDL_00029401.

       86.    The RJM Plan, the Basalt Plan, and the Roadcraft Plan relied on pre-approved

forms for the plans for which a volume submitter had obtained a determination letter from the



                                             - 13 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 14 of 86




IRS approving the form of those plans. WH_MDL_00356191 (RJM); WH_MDL_00139333-4

(Roadcraft); JHVM_0010127-JHVM_0010128 (Basalt); Reish Report ¶ 38.

       87.     Each of the RJM Plan, the Basalt Plan, and the Roadcraft Plan’s governing

documents include trust provisions which may be found at WH_MDL_00000356,

JHVM_0009979 – JHVM_0009980, and WH_MDL_00139411-12, respectively.

       88.     The American Investment Group of New York, L.P. Pension Plan received an

individual determination letter from the IRS that the plan was qualified as to form.

ACER_00015174.

       89.     The FWC Capital LLC Pension Plan (the “FWC Plan”) was a prototype 401(k)

plan in which Roger Lehman was the sole participant. See FWCCAP00000414-543. The FWC

Plan was formed on October 22, 2014 and sponsored by The FWC Capital LLC, which was also

formed in October 2014. Id.; FWCCAP00000564-566.

       90.     The Proper Pacific 401(k) Plan (the “Proper Pacific Plan”) was a prototype 401(k)

plan in which Doston Bradley was the sole participant. See PROPPACIF00003619-3694;

PROPPACIF00003696-3756. The Proper Pacific Plan was formed in September 2014 and

sponsored by Pacific India LLC, which was also formed in September 2014. Id.;

PROPPACIF00000375.

       91.     The RJM Plan filed an Application for United States Residency Certification,

Form 8802, with the IRS. WH_MDL_00033719.

       92.     In connection with each request to reclaim dividend withholding tax, reclaim

agents acting on behalf of each pension plan defendant provided SKAT with Internal Revenue

Code Form 6166 (Certification of U.S. Tax Residency) (“Form 6166”). See, e.g.,




                                              - 14 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 15 of 86




SKAT_MDL_001_00059293; SKAT_MDL_001_00057073; SKAT_MDL_001_00056852;

SKAT_MDL_001_00082801; and SKAT_MDL_001_00088872.

       93.     The Form 6166 stated that to the best of the knowledge of the Internal Revenue

Service (“IRS”), each defendant pension plan “is a trust forming part of a pension, profit sharing,

or stock bonus plan qualified under section 401(a) of the U.S. Internal Revenue Code, which is

exempt from U.S. taxation under section 501(a), and is a resident of the United States of

America for purposes of U.S. taxation.” Id.

       94.     SKAT does not allege the IRS engaged in any fraudulent activity in connection

with the issuance of any Form 6166 (Certification of U.S. Tax Residency) appended to any

Claim. Response to Request for Admission No. 127.

       95.     SKAT does not allege the IRS made any false statement or misrepresentations to

SKAT in connection with the issuance of any Form 6166 (Certification of U.S. Tax Residency)

appended to any Claim. Response to Request for Admission No. 128.

       96.     The IRS conducted an audit of the RJM Plan. WH_MDL_00356182.

       97.     In the course of the RJM audit, the IRS requested all monthly bank and brokerage

statements for 2012, 2013, 2014, 2015 and 2016 for the RJM Plan. WH_MDL_00357011. The

RJM Plan provided documents in response to the IRS request, including WH_MDL_00357354;

WH_MDL_00357028 – WH_MDL_00357113; WH_MDL_00524103 – WH_MDL_00524140;

WH_MDL_00523307 – WH_MDL_00524102.

       98.     In the course of the RJM audit, the RJM Plan provided the IRS with information

about the plan’s account at Solo Capital. WH_MDL_00357011; WH_MDL_00524103 –

WH_MDL_00524140.




                                              - 15 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 16 of 86




       99.     In the course of the RJM audit, the IRS received certain custodian account

statements issued by Solo Capital that state that the RJM Plan made certain purchases of Danish

securities. WH_MDL_00524103 – WH_MDL_00524140.

       100.    In the course of the IRS audit, the IRS requested documents identifying the

sources of plan income (other than investment earnings) received from the plan’s effective date

through December 31, 2016. WH_MDL_00356990. The RJM Plan provided the IRS with

documents in response to this request, including WH_MDL_00523288 – WH_MDL_00523295.

       101.    Documents provided to the IRS show that the RJM Plan was funded in 2013 but

not in 2014 through 2016.

       102.    At the conclusion of the audit, the IRS issued a “no change” letter.

WH_MDL_00358607.

       103.    On behalf of the RJM Plan, its sponsoring entity filed Form 5500-EZ with the

IRS. WH_MDL_00002741 – WH_MDL_00002748 (Form 5500-EZs filed for 2013-2016).

       104.    The RJM Plan, Basalt Plan, and Roadcraft Plan filed Treasury International

Capital (TIC) System Forms with the U.S. Federal Reserve Bank. These TIC Forms represented

to the Federal Reserve that the Plans engaged in purchases, sales, and holdings of foreign

securities. See, e.g., WH_MDL_00112502; WH_MDL_00191254; MBJ_0020146.

       105.    In a TIC Form submission to the Federal Reserve, the Roadcraft Plan represented

to that it held approximately $1,828,000,000 of foreign securities as of May 29, 2015.

MBJ_0020146.

       106.    The RJM Plan filed a Report of Foreign Bank and Financial Accounts (FBAR)

with the Financial Crimes Enforcement Network (FinCEN) for the year 2015. This report

disclosed the RJM Plan’s account with Solo Capital. WH_MDL_00450239. The RJM Plan did



                                              - 16 -
      Case 1:18-md-02865-LAK         Document 790        Filed 04/22/22      Page 17 of 86




not file these reports for the years 2013 and 2014. The Roadcraft Plan filed an FBAR for the

year 2015, which listed the maximum value in its account at Solo Capital as $9,699,000 and the

maximum value in its account at Old Park Lane Capital Plc as $186,000. KF_MDL_15444.

IV.    The Solo Trades

       107.   Certain US pension plan defendants used Solo Capital, Old Park Lane Capital

PLC (“Old Park Lane”), West Point Derivatives (“West Point”), or Telesto Markets LLP

(“Telesto”) (each a “Solo Custodian” and collectively, the “Solo Custodians”) to provide

custodial services. Specifically, the RJM Plan used Solo Capital as its custodian in 2013 and

2014, MPSKAT00158808; the Basalt Plan used Old Park Lane and Telesto as its custodians in

2014 and 2015, WH_MDL_00035630, GUNDERSON00009434; the Roadcraft Plan used Solo

Capital and Old Park Lane as its custodians in 2014 and 2015, WH_MDL_00020362,

MPSKAT00008759; the FWC Plan used Solo Capital and Old Park Lane as its custodians in

2014 and 2015, FWCCAP00001033, FWCCAP00000194; and the Proper Pacific Plan used Old

Park Lane and Telesto as its custodians in 2014 and 2015, PROPPACIF00000096,

PROPPACIF00000955, PROPPACIF00000113.

       108.   The Solo Custodians were registered with the U.K. regulator, the Financial

Conduct Authority (“FCA”), and were subject to its FCA regulation.

https://register.fca.org.uk/s/firm?id=001b000000NMaqQAAT (Solo Capital);

https://register.fca.org.uk/s/firm?id=001b000000MgBgIAAV (Old Park Lane);

https://register.fca.org.uk/s/firm?id=001b000000NMiEdAAL (Telesto);

https://register.fca.org.uk/s/firm?id=001b000000MfavWAAR (West Point).

       109.   Other than in the case of a special or interim dividend, issuers of Danish securities

approved dividends on the date of their Annual General Meeting.



                                             - 17 -
     Case 1:18-md-02865-LAK            Document 790       Filed 04/22/22      Page 18 of 86




       110.    The companies named in the tax refund applications to SKAT were all public

issuers of securities in Denmark. Section XV of this Statement is a summary of the relevant

dividend events for these companies.

       111.    In every case (excluding the issuance of special or interim dividends), documents

issued by the Solo Custodians and by brokers state that the RJM Plan, the Basalt Plan, the

Roadcraft Plan, the FWC Plan, and the Proper Pacific Plan purchased Danish shares on the date

of the issuer’s Annual General Meeting.

       112.    Other than in the case of special or interim dividends, a broker issued a trade

confirmation stating that the broker executed on behalf of the RJM Plan, the Basalt Plan, the

Roadcraft Plan, the FWC Plan, and the Proper Pacific Plan purchases of shares of Danish

securities on the day of the Annual General Meeting of the issuer of the relevant Danish

securities. See, e.g., MPSKAT00077417, MPSKAT00077419, JHVM_0003574,

WH_MDL_00035254; see also Carr Rebuttal Report ¶ 7, 11. The brokers were executing

brokers only, and did not clear or settle any trades. See Markowitz Tr. 273:3-11;

JHVM_0001267; WH_MDL_00023826; LEHMAN00022426 at 428. The RJM, Basalt and

Roadcraft Plans entered into International Uniform Brokerage Execution Services (“Give-Up”)

Agreements with certain brokers and custodians stating that the brokers would give up the trades

to the custodian for clearance and settlement. See, e.g., MPSKAT00066947-51.

       113.    In every case, a broker issued a trade confirmation stating that the broker executed

on behalf of the RJM Plan, the Basalt Plan, the Roadcraft Plan, the FWC Plan, and the Proper

Pacific Plan a purchase of shares of Danish securities before the ex-dividend date. See, e.g.,

MPSKAT00077417, MPSKAT00077419, JHVM_0003574.




                                              - 18 -
     Case 1:18-md-02865-LAK            Document 790         Filed 04/22/22       Page 19 of 86




       114.    The broker confirmations state that the RJM Plan, the Basalt Plan, the Roadcraft

Plan, the FWC Plan, and the Proper Pacific Plan purchased securities in their own name.

       115.    On or about the trade date, a broker generated a trade confirmation stating that the

broker executed a trade including the type of transaction (e.g., equity buy), number of shares

purchased, the trade price, the trade date, the identity of the securities, the client on whose behalf

the securities were purchased, and the commission charged.

       116.    The trade prices listed in these confirmations were the close price of the day or

between the high and low price of that day. Carr Reply Report ¶38, Ex. 5.

       117.    The trade confirmations provided by brokers listed a settlement date. See, e.g.,

MPSKAT00077417, MPSKAT00077419, JHVM_0003574. The settlement date was also the

date on which the issuer distributed dividends.

       118.    Also on the trade date, the RJM Plan, the Basalt Plan, the Roadcraft Plan, the

FWC Plan, and the Proper Pacific Plan entered into a flex futures contract or executed a forward

contract.

       119.    According to the terms of the transactions as stated in the trade confirmations, the

flex futures or forward contract hedged the economic risk associated with price fluctuations in

Danish equities.

       120.    The clearance and settlement of RJM Capital’s flex futures transactions, including

those discussed in paragraphs 134-135 and 141-142, through BClear is reflected in statements

issued by JP Morgan. E.g., SCPADMINISTRATORS_00042114,

SCPADMINISTRATORS_00042440.

       121.    The Solo Custodians’ documents and emails between the pension plans and the

securities lending counterparties state that after the trade date and after the issuer’s record date,



                                                - 19 -
     Case 1:18-md-02865-LAK           Document 790       Filed 04/22/22      Page 20 of 86




each of the RJM Plan, the Basalt Plan, the Roadcraft Plan, the FWC Plan, and the Proper Pacific

Plan loaned the same number of shares it had purchased in exchange for cash collateral equal to

the purchase price of the equity buy transaction.

       122.    The RJM Plan, the Basalt Plan, the Roadcraft Plan, the FWC Plan, and the Proper

Pacific Plan executed securities lending agreements that used the industry-accepted Global

Master Securities Lending Agreement (“GMSLA”) as a template.

       123.    According to the defendants, the collateral received from the securities lending

transactions was used to finance the purchase of the shares.

       124.    The Solo Custodians issued account statements that stated that the RJM Plan, the

Basalt Plan, the Roadcraft Plan, the FWC Plan, and the Proper Pacific Plan purchased Danish

securities. See, e.g., MPSKAT00135581; JHVM_0003581; FWCCAP00000194;

FWCCAP00001033; PROPPACIF00000113; PROPPACIF00000955.

       125.    The account statements generated by the Solo Custodians reflect credits for net

dividends to the RJM Plan, the Basalt Plan, the Roadcraft Plan, the FWC Plan, and the Proper

Pacific Plan. Id.

       126.    The Solo Custodians generated Dividend Credit Advice statements for the RJM

Plan, the Basalt Plan, the Roadcraft Plan, the FWC Plan, and the Proper Pacific Plan.

       127.    The Dividend Credit Advice statements listed the name of the security, the

number of shares, the gross dividend, the tax, and the net dividend. The Dividend Credit Advice

statements prepared by the Solo Custodians stated that the pension plan’s account was credited

with an amount equal to the net dividend. Id. The Dividend Credit Advices provided to SKAT

on behalf of the RJM Plan, the Basalt Plan, the Roadcraft Plan, the FWC Plan, and the Proper




                                              - 20 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 21 of 86




Pacific Plan reflected a net dividend amount that represented the gross dividend less 27%.

Response to Request for Admission No. 72.

       128.    The Solo Custodians’ documents, broker confirmations, and email

correspondence (including with securities lending counterparties) state that, after the dividend

payment date, the RJM Plan, the Basalt Plan, the Roadcraft Plan, the FWC Plan, and the Proper

Pacific Plan recalled the shares they had loaned out, sold those shares, and purchased forward or

futures contracts. See, e.g., MPSKAT00135581; JHVM_0003581; FWCCAP00000194;

FWCCAP00001033; PROPPACIF00000113; PROPPACIF00000955; ].

V.     Specific Solo Bellwether Trades

       a.      RJM Plan Trade

       129.    On April 11, 2013, the RJM Plan emailed FGC Securities seeking liquidity for a

purchase of 10,400 shares of A.P. Møller Mærsk A/S – B, a public issuer of securities in

Denmark, at a price of DKK 43,680.2893 per share, for a notional amount of DKK

454,275,008.72, with a settlement date of April 17, 2013. MPSKAT00077088;

MPSKAT00077295; MPSKAT00077418.

       130.    The RJM Plan received an email from Solo approving the Plan’s request.

MPSKAT00077295.

       131.    FGC Securities is a broker.

       132.    The RJM Plan received a trade confirmation from FGC Securities.

MPSKAT00077415; MPSKAT00077419. The confirmation stated that on April 11, 2013, the

Plan purchased 10,400 shares of MAERSKB stock at a price of DKK 43,680.2893 per share.

MPSKAT00077419. The confirmation included a commission fee of 11,356.88 DKK for

executing the trade. Id.



                                              - 21 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22     Page 22 of 86




       133.   An International Uniform Brokerage Execution Services (“Give-Up”) Agreement

among FGC, Solo Capital, and the RJM Plan stated that after FGC executed trades on behalf of

the RJM Plan, FGC would give up the trades to Solo Capital for clearing and settlement.

MPSKAT00066947-51.



       134.   On April 11, 2013, the RJM Plan asked FGC Securities to sell 104 flex futures

contracts on MAERSKB stock for DKK 42,821.31 per share. MPSKAT00076965.

       135.   The Plan received a trade confirmation from FGC Securities stating that FGC

Securities executed the sale. MPSKAT00077418. The confirmation stated that on April 11,

2013, the Plan had entered into a sale of flex futures on MAERSKB stock for DKK 42,821.31

per share, with each contract covering 100 shares. Id. The confirmation stated that the flex

futures trade was conducted through the Euronext – BClear exchange. Id.; see also

SCPADMINISTRATORS_00042114.

       136.   Account statements issued by Solo, along with emails directly between the RJM

Plan and Colbrook Ltd., state that on April 16, 2013, the RJM Plan entered into a stock loan

agreement pursuant to which it agreed to loan 10,400 A.P. Møller Mærsk A/S – B shares to

Colbrook Ltd., in exchange for DKK 454,275,008.72 (DKK 43,680.2893 per share), with

settlement of April 17, 2013. MPSKAT00135581 at 590; MPSKAT00077639;

MPSKAT00077640.

       137.   The stock lending agreement that the RJM Plan entered into was based on the

standard security lending agreement template published by ISLA. MPSKAT00068151-92.

       138.   On June 13, 2013, the RJM Plan emailed Colbrook Ltd. requesting to recall the

10,400 loaned shares of MAERSKB. MPSKAT00085264.



                                             - 22 -
      Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 23 of 86




       139.    On June 13, 2013, the RJM Plan emailed FGC Securities seeking liquidity for the

sale of 10,400 shares of MAERSKB stock at DKK 40,750.2863 per share. MPSKAT00085175-

76.

       140.    The plan received a trade confirmation from FGC Securities stating that FGC

Securities executed the sale. MPSKAT00085288-89.

       141.    On June 13, 2013, the RJM Plan asked FGC Securities to buy 104 flex futures

contracts on MAERSKB stock for DKK 40,750.94 per share. MPSKAT00085108.

       142.    The Plan received a trade confirmation from FGC Securities stating that FGC

Securities executed the purchase of these flex futures. MPSKAT00085290-MPSKAT00085291;

see also SCPADMINISTRATORS00042440.

       143.    Other trades by the RJM Plan, the Basalt Plan, the Roadcraft Plan, the FWC Plan,

or the Proper Pacific Plan through Solo Custodians included the same steps described above,

differing only in whether the Plan traded a future or a forward and in the identity of the broker

and/or stock loan counterparty.

       144.    The RJM Plan received a document entitled Dividend Credit Advice from Solo

Capital. WH_MDL_00268445. The RJM Plan received a statement from Solo Capital stating

that the Plan purchased 10,400 MAERSKB shares. MPSKAT00135582.

       145.    The RJM Plan received a statement from Solo Capital stating that Solo Capital

credited it with an amount equal to the net dividend payment associated with 10,400 MAERSKB

shares. MPSKAT00135581.

       146.    The Solo Custodians’ documents, broker confirmations, and email

correspondence (including with securities lending counterparties) state that the RJM Plan




                                               - 23 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 24 of 86




engaged in a total of 12 trades of Danish securities with the same or similar steps as outlined

above for the 10,400 A.P. Møller Mærsk A/S – B shares. These trades are listed in Appendix A.

       b.      Basalt Trades

       147.    On March 26, 2015, the Basalt Plan emailed Sunrise Brokers seeking to purchase

178,044 shares of Carlsberg A/S – B, the shares of a public issuer of securities in Denmark, at

DKK 571.50 per share, for a notional amount of DKK 101,752,146.00, with a settlement date of

March 31, 2015. WH_MDL_00040949; JHVM_0003573 - JHVM_0003574;

WH_MDL_00040596.

       148.    The Basalt Plan received a trade confirmation from Sunrise Brokers. The

confirmation stated that on March 26, 2015, Sunrise Brokers executed for the Basalt Plan a

purchase of 178,044 shares of CARLB stock at a price of DKK 571.50 per share.

JHVM_0003573 - JHVM_0003574. The confirmation included a commission fee of DKK

635.95 for executing the trade. Id.

       149.    An email sent by Telesto to the Basalt Plan states that on March 30, 2015, the

Basalt Plan entered into a stock loan agreement pursuant to which it agreed to loan 178,044

shares of Carlsberg A/S – B shares to Prince Solutions Limited, in exchange for DKK

101,752,146.00 (DKK 571.50 per share), with a settlement date of March 31, 2015.

WH_MDL_00041680.

       150.    On August 7, 2014, the Basalt Plan emailed Bastion Capital London Ltd. seeking

liquidity for the purchase of 2,876,867 shares of TDC A/S, a public issuer of securities in

Denmark, at DKK 51.35 per share, for a notional amount of DKK 147,727,120.45, with a

settlement date of August 13, 2014. WH_MDL_00035160; WH_MDL_00035237;

WH_MDL_00034875.



                                              - 24 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 25 of 86




       151.    Email correspondence between the Basalt Plan and Gnosis, along with the Solo

Custodians’ documents, state that on August 12, 2014, the Basalt Plan entered into a stock loan

agreement pursuant to which it agreed to loan 2,876,867 TDC A/S shares to Gnosis Capital Ltd.,

in exchange for DKK 147,727,120.45 (DKK 51.35 per share), with a settlement date of August

13, 2014. WH_MDL_00035347 - WH_MDL_00035348; JHVM_0003755 - JHVM_0003757.

       152.    The Solo Custodians’ documents, broker confirmations, and email

correspondence state that the Basalt Plan engaged in a total of 15 trades of Danish securities with

similar steps (but in some cases with different counterparties) as the ones described in connection

with the 178,044 shares of Carlsberg and A/S – B and the 2,876,867 shares of TDC A/S. These

trades are documented in Appendix A.

       c.      Roadcraft Trades

       153.    On March 26, 2015, someone emailed the broker The TJM Partnership on behalf

of the Roadcraft Plan seeking to purchase 887,986 shares of Carlsberg A/S – B, a public issuer of

securities in Denmark, at DKK 571.50 per share, for a notional amount of DKK 507,483,999.00,

with a settlement date of March 31, 2015. WH_MDL_00021154; WH_MDL_00137241 -

WH_MDL_00137244; WH_MDL_00021131.

       154.    A trade confirmation issued by The TJM Partnership stated that on March 26,

2015, 887,986 shares of CARLB stock were purchased on behalf of the Roadcraft Plan at a price

of DKK 571.50 per share. WH_MDL_00137241 - WH_MDL_00137244.

       155.    According to email correspondence, on March 30, 2015, a stock loan agreement

was entered into on behalf of the Roadcraft Plan pursuant to which 887,986 shares of Carlsberg

A/S – B shares were loaned to Colbrook Limited, in exchange for DKK 504,483,999.00 (DKK

571.50 per share), with a settlement date of March 31, 2015. WH_MDL_00021355.



                                              - 25 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 26 of 86




       156.    On August 7, 2014, someone emailed the broker Bastion Capital London on

behalf of the Roadcraft Plan seeking liquidity for purchase of 2,803,027 shares of TDC A/S, a

public issuer of securities in Denmark, at DKK 51.35 per share, for a notional amount of DKK

143,935,436.45, with a settlement date of August 13, 2014. WH_MDL_00065626 – 27;

WH_MDL_00035254.

       157.    The Solo Custodians’ documents, broker confirmations, and email

correspondence state that the Roadcraft Plan engaged in a total of 15 trades of Danish securities

with similar steps (but in some cases with different counterparties) as the ones described in

connection with the 887,986 shares of Carlsberg A/S – B. These trades are documented in

Appendix A.

               d.     FWC Trades

       158.    On March 26, 2015, the FWC Capital Plan emailed the broker The TJM

Partnership seeking to purchase 903,635 sharesof Carlsberg A/S – B, a public issuer of

securities in Denmark, at DKK 571.50 per share, for a total notional amount of DKK

516,427,402.50, with a settlement date of March 31, 2015. FWCCAP00002047;

FWCCAP00000035.

       159.    The FWC Capital Plan received a trade confirmation from TJM Partnership LLC.

The confirmation stated that on March 26, 2015, The FWC Capital LLC Pension Plan purchased

903,635 sharesof Carlsberg A/S – B at a price of DKK 571.5 per share. FWCCAP00000035;

FWCCAP00002048.

       160.    Email correspondence between the FWC Plan and Diverse Vision Limited states

that on March 30, 2015, the FWC Capital Plan entered into a stock loan agreement pursuant to

which it agreed to loan 903,635 Carlsberg A/S– B shares to Diverse Vision Limited, in



                                              - 26 -
     Case 1:18-md-02865-LAK            Document 790       Filed 04/22/22     Page 27 of 86




exchange for DKK 516,427,402.50, with a settlement date of March 31, 2015.

FWCCAP00002078; FWCCAP00002079.

       161.    On November 27, 2014, the FWC Capital Plan emailed the broker Bastion Capital

London seeking liquidity for the purchase of 846,864 shares of Chr. Hansen Holding A/S, a

public issuer of securities in Denmark, at DKK 258.9 per share, for a total notional amount of

DKK 219,253,089.60, with a settlement date of December 2, 2014. FWCCAP00001240.

       162.    The FWC Capital Plan received a trade confirmation from Bastion Capital

London Ltd. The confirmation stated that on November 27, 2014, The FWC Capital LLC

Pension Plan purchased 846,864 shares of Chr. Hansen Holding A/S at a price of DKK 258.9 per

share. The confirmation included a commission fee of DKK 2740.66. FWCCAP00001248;

FWCCAP00001249.

       163.    Email correspondence between the FWC Plan and Gnosis states that on December

1, 2014, the FWC Capital Plan entered into a stock loan agreement pursuant to which it agreed to

loan 846,864 Chr. Hansen shares to Gnosis Capital Ltd, in exchange for DKK 219,253,089.60,

with a settlement date of December 2, 2014. FWCCAP00001250; FWCCAP00001253.

       164.    The FWC Capital Plan engaged in a total of 16 trades of Danish securities with

the same steps (but in some cases with different counterparties) as the ones described in

connection with the 903,635 shares of Carlsberg A/S – B and the 846,864 shares of Chr. Hansen

Holding A/S. These trades are identified in Appendix A.

       e.      Proper Pacific Trades

       165.    On March 26, 2015, the Proper Pacific Plan emailed the broker Sunrise Brokers

seeking liquidity for the purchase of 180,313 shares of Carlsberg A/S – B, a public issuer of

securities in Denmark, at DKK 571.5 per share, for a total notional amount of DKK



                                              - 27 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22     Page 28 of 86




103,048,879.50, through the broker Sunrise Brokers, with a settlement date of March 31,

2015. PROPPACIF00002195; PROPPACIF00002209.

       166.   The Proper Pacific Plan received a trade confirmation from Sunrise Brokers. The

confirmation stated that on March 26, 2015, the Proper Pacific Plan purchased 180,313 shares of

Carlsberg A/S – B at a price of DKK 571.5 per share. The confirmation included a commission

fee of DKK 644.06. PROPPACIF00002209-2210.

       167.   Email correspondence between the Proper Pacific Plan and Treehurst Limited

states that on March 30, 2015, the Proper Pacific Plan entered into a stock loan agreement

pursuant to which it agreed to loan 180,313 Carlsberg A/S– B shares to Treehurst Limited, in

exchange for DKK 103,048,879.50, with a settlement date of March 31, 2015.

PROPPACIF00002247.

       168.   On November 27, 2014, the Proper Pacific Plan emailed the broker Bastion

Capital seeking liquidity for the purchase of 839,500 shares of Chr. Hansen Holding A/S, a

public issuer of securities in Denmark, at DKK 258.9 per share, for a total notional amount of

DKK 217,346,550, with a settlement date of December 2, 2014. PROPPACIF00001323.

       169.   The Proper Pacific Plan received a trade confirmation from Bastion Capital

London Ltd. The confirmation stated that on November 27, 2014, the Proper Pacific Plan

purchased 839,500 shares of Chr. Hansen Holding A/S execution at the price of DKK 258.90 per

share. The confirmation included a commission fee of DKK 2716.83. PROPPACIF00001326;

PROPPACIF00001327.

       170.   Email correspondence between the Proper Pacific Plan and Gnosis states that on

December 1, 2014, the Proper Pacific Plan entered into a stock loan agreement pursuant to




                                             - 28 -
      Case 1:18-md-02865-LAK         Document 790        Filed 04/22/22     Page 29 of 86




which it agreed to loan 839,500 Chr. Hansen shares to Gnosis Capital Ltd, in exchange for

DKK 217,346,550, with a settlement date of December 2, 2014. PROPPACIF00001330.

       171.   The Proper Pacific Plan engaged in a total of 16 trades of Danish securities

with the same steps outlined above (but in some cases with different counterparties) as the ones

described in connection with the 180,313 shares of Carlsberg A/S – B and the 839,500 shares of

Chr. Hansen Holding A/S. These trades are identified in Appendix A.

VI.    Solo Bellwether Reclaim Submissions

       a.     RJM Plan

       172.   On April 3, 2013, Goal TaxBack submitted a tax reclaim application, on behalf of

the RJM Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.008, which was a

predecessor version of Form 06.003)); 3) a dividend credit advice issued by Solo Capital; 4) a

Power of Attorney; and 5) an IRS Form 6166. The Form 06.008 stated that the RJM Plan, as the

“owner/usufructuary” of shares of TDC A/S, “hereby claim[ed] relief from Danish taxation on

the dividends from shares or participations as specified below.” Below, the form listed the

number of shares (3,250,000), the gross dividend (DKK 7,475,000), and the amount of the

refund claim (DKK 2,018,250). The dividend credit advice issued by Solo Capital stated that

Solo Capital had credited the account of the RJM Plan with a payment that “represents the

dividend shown below.” The dividend credit advice also included information on the gross

dividend (DKK 7,475,000), the number of shares (3,250,000), the tax (DKK 2,018,250) and the

net dividend (DKK 5,456,750). SKAT_MDL_001_00059293.

       173.   On April 8, 2013, Goal TaxBack submitted a tax reclaim application, on behalf of

the RJM Plan. Included with the application were: 1) a cover letter on the reclaim agent’s



                                             - 29 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 30 of 86




letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.008); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

06.008 stated that the RJM Plan, as the “owner/usufructuary” of shares of DSV A/S, “hereby

claim[ed] relief from Danish taxation on the dividends from shares or participations as specified

below.” Below, the form listed the number of shares (1,200,000), the gross dividend (DKK

1,500,000), and the amount of the refund claim (DKK 405,000). The dividend credit advice

issued by Solo Capital stated that Solo Capital had credited the account of the RJM Plan with a

payment that “represents the dividend shown below.” The dividend credit advice also included

information on the gross dividend (DKK 1,500,000), the number of shares (1,200,000), the tax

(DKK 405,000) and the net dividend (DKK 1,095,000). SKAT_MDL_001_00059293.

       174.    On April 8, 2013, Goal TaxBack submitted a tax reclaim application, on behalf of

the RJM Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.008); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

06.008 stated that the RJM Plan, as the “owner/usufructuary” of shares of Carlsberg A/S – B,

“hereby claim[ed] relief from Danish taxation on the dividends from shares or participations as

specified below.” Below, the form listed the number of shares (640,000), the gross dividend

(DKK 3,840,000), and the amount of the refund claim (DKK 1,036,800). The dividend credit

advice issued by Solo Capital stated that Solo Capital had credited the account of the RJM Plan

with a payment that “represents the dividend shown below.” The dividend credit advice also

included information on the gross dividend (DKK 3,840,000), the number of shares (640,000),

the tax (DKK 1,036,800) and the net dividend (DKK 2,803,200). SKAT_MDL_001_00059293.




                                              - 30 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22     Page 31 of 86




       175.   On April 12, 2013, Goal TaxBack submitted a tax reclaim application, on behalf

of the RJM Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.008); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

06.008 stated that the RJM Plan, as the “owner/usufructuary” of shares of Novo Nordisk A/S –

B, “hereby claim[ed] relief from Danish taxation on the dividends from shares or participations

as specified below.” Below, the form listed the number of shares (2,400,000), the gross dividend

(DKK 43,200,000), and the amount of the refund claim (DKK 11,664,000). The dividend credit

advice issued by Solo Capital stated that Solo Capital had credited the account of the RJM Plan

with a payment that “represents the dividend shown below.” The dividend credit advice also

included information on the gross dividend (DKK 43,200,000), the number of shares

(2,400,000), the tax (DKK 11,664,000) and the net dividend (DKK 31,536,000).

SKAT_MDL_001_00059293.

       176.   On April 17, 2013, Goal TaxBack submitted a tax reclaim application, on behalf

of the RJM Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.008); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

06.008 stated that the RJM Plan, as the “owner/usufructuary” of shares of FLSmidth & Co A/S,

“hereby claim[ed] relief from Danish taxation on the dividends from shares or participations as

specified below.” Below, the form listed the number of shares (285,000), the gross dividend

(DKK 2,565,000), and the amount of the refund claim (DKK 692,550). The dividend credit

advice issued by Solo Capital stated that Solo Capital had credited the account of the RJM Plan

with a payment that “represents the dividend shown below.” The dividend credit advice also



                                             - 31 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 32 of 86




included information on the gross dividend (DKK 2,565,000), the number of shares (285,000),

the tax (DKK 692,550) and the net dividend (DKK 1,872,450). SKAT_MDL_001_00059293.

       177.    On April 23, 2013, Goal TaxBack submitted a tax reclaim application on behalf

of the RJM Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 4,730,000. The dividend credit advices

issued by Solo Capital stated that: a) in connection with 4,200 shares of A.P. Møller Mærsk A/S

- A, Solo Capital had credited the account of RJM Capital with a payment in the amount of DKK

3,679,200.00 that represented a dividend net of withholding tax of DKK 1,360,800.00; and b) in

connection with 10,400 shares of A.P. Møller Mærsk A/S – B, Solo Capital had credited the

account of the RJM Plan with a payment in the amount of DKK 9,110,400.00 that represented a

dividend net of withholding tax of DKK 3,369,600.00. SKAT_MDL_001_00059293;

WH_MDL_00268445.

       178.    On April 26, 2013, Goal TaxBack submitted a tax reclaim application on behalf

of the RJM Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 1,123,200. The dividend credit advice

issued by Solo Capital stated that in connection with 160,000 shares of Tryg A/S, Solo Capital




                                              - 32 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 33 of 86




had credited the account of the RJM Plan with a payment in the amount of DKK 3,036,800 that

represented a dividend net of withholding tax of DKK 1,123,200. SKAT_MDL_001_00059293.

       179.    On April 30, 2013, Goal TaxBack submitted a tax reclaim application on behalf

of the RJM Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 572,400. The dividend credit advice issued

by Solo Capital stated that in connection with 1,060,000 shares of Lundbeck A/S, Solo Capital

had credited the account of the RJM Plan with a payment in the amount of DKK 1,547,600 that

represented a dividend net of withholding tax of DKK 572,400. SKAT_MDL_001_00059293.

       180.    On August 21, 2013, Goal TaxBack submitted a tax reclaim application on behalf

of the RJM Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 1,559,250. The dividend credit advice

issued by Solo Capital stated that in connection with 3,850,000 shares of TDC A/S, Solo Capital

had credited the account of the RJM Plan with a payment in the amount of DKK 4,215,750 that

represented a dividend net of withholding tax of DKK 1,559,250. SKAT_MDL_001_00059293.

       181.    On December 6, 2013, Goal TaxBack submitted a tax reclaim application on

behalf of the RJM Plan. Included with the application were: 1) a cover letter on the reclaim

agent’s letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a



                                              - 33 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 34 of 86




dividend credit advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166.

The Form (06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim

for refund of Danish dividend tax” in the total amount of DKK 1,318,621.36. The dividend

credit advice issued by Solo Capital stated that in connection with 780,157 shares of Chr. Hansen

Holding A/S, Solo Capital had credited the account of the RJM Plan with a payment in the

amount of DKK 3,565,161.46 that represented a dividend net of withholding tax of DKK

1,318,621.36. SKAT_MDL_001_00059293.

       182.    On December 13, 2013, Goal TaxBack submitted a tax reclaim application on

behalf of the RJM Plan. Included with the application were: 1) a cover letter on the reclaim

agent’s letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a

dividend credit advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166.

The Form (06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim

for refund of Danish dividend tax” in the total amount of DKK 1,746,360. The dividend credit

advice issued by Solo Capital stated that in connection with 924,000 shares of Coloplast A/S,

Solo Capital had credited the account of the RJM Plan with a payment in the amount of DKK

4,721,640 that represented a dividend net of withholding tax of DKK 1,746,360.

SKAT_MDL_001_00059293.

       b.      Basalt Plan

       183.    On November 27, 2014, Goal TaxBack submitted a tax reclaim application on

behalf of the Basalt Plan. Included with the application were: 1) a cover letter on the reclaim

agent’s letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a

dividend credit advice issued by Old Park Lane; 4) a Power of Attorney; and 5) an IRS Form

6166. The Form (06.003) stated that it was filed “on behalf of the beneficial owner” and made a



                                              - 34 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 35 of 86




“claim for refund of Danish dividend tax” in the total amount of DKK 1,165,131.14. The

dividend credit advice issued by Old Park Lane stated that in connection with 2,876,867 shares

of TDC A/S, Old Park Lane had credited the account of the Basalt Plan with a payment in the

amount of DKK 3,150,169.36 that represented a dividend net of withholding tax of DKK

1,165,131.14. SKAT_MDL_001_00057073.

       184.    On April 14, 2015, Goal TaxBack submitted a tax reclaim application on behalf

of the Basalt Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Telesto; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 8,381,677.50. The dividend credit advices

issued by Telesto stated that: a) in connection with 7,873 shares of A.P. Møller Mærsk A/S - A,

Telesto had credited the account of the Basalt Plan with a payment in the amount of DKK

11,327,908.59 that represented a dividend net of withholding tax of DKK 4,189,774.41; and b) in

connection with 7,877 shares of A.P. Møller Mærsk A/S - B, Telesto had credited the account of

the Basalt Plan with a payment in the amount of DKK 11,333,663.91 that represented a dividend

net of withholding tax of DKK 4,191,903.09. SKAT_MDL_001_00057073.

       185.    On April 16, 2015, Goal TaxBack submitted a tax reclaim application on behalf

of the Basalt Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a dividend credit

advice issued by Telesto; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form (06.003)

stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund of

Danish dividend tax” in the total amount of DKK 8,705,084.85. The dividend credit advice



                                              - 35 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 36 of 86




issued by Telesto stated that in connection with 6,448,211 shares of Novo Nordisk A/S – B,

Telesto had credited the account of the Basalt Plan with a payment in the amount of DKK

23,535,970.15 that represented a dividend net of withholding tax of DKK 8,705,084.85.

SKAT_MDL_001_00057073.

       186.    On April 21, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Basalt Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Telesto; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 5,621,940.22. The dividend credit advices

issued by Telesto stated that: a) in connection with 178,044 shares of Carlsberg A/S - B, Telesto

had credited the account of the Basalt Plan with a payment in the amount of DKK 1,169,749.08

that represented a dividend net of withholding tax of DKK 432,646.92; b) in connection with

3,271,664 shares of Danske Bank A/S, Telesto had credited the account of the Basalt Plan with a

payment in the amount of DKK 13,135,730.96 that represented a dividend net of withholding tax

of DKK 4,858,421.04; and c) in connection with 765,908 shares of DSV A/S, Telesto had

credited the account of the Basalt Plan with a payment in the amount of DKK 894,580.54 that

represented a dividend net of withholding tax of DKK 330,872.26.

SKAT_MDL_001_00057073.

       187.    On April 23, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Basalt Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Telesto; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form



                                              - 36 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 37 of 86




(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 1,986,272.82. The dividend credit advices

issued by Telesto stated that: a) in connection with 80,009 shares of FLSmidth & Co A/S,

Telesto had credited the account of the Basalt Plan with a payment in the amount of DKK

525,659.13 that represented a dividend net of withholding tax of DKK 194,421.87; b) in

connection with 777,153 shares of Novozymes A/S - B, Telesto had credited the account of the

Basalt Plan with a payment in the amount of DKK 1,701,965.07 that represented a dividend net

of withholding tax of DKK 629,493.93; c) in connection with 3,283,965 shares of TDC A/S,

Telesto had credited the account of the Basalt Plan with a payment in the amount of DKK

2,397,294.45 that represented a dividend net of withholding tax of DKK 886,670.55; and d) in

connection with 35,209 shares of Tryg A/S, Telesto had credited the account of the Basalt Plan

with a payment in the amount of DKK 745,374.53 that represented a dividend net of withholding

tax of DKK 275,686.47. SKAT_MDL_001_00057073.

       188.    On April 27, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Basalt Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Telesto; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 1,635,387.41. The dividend credit advices

issued by Telesto stated that: a) in connection with 605,292 shares of GN Store Nord A/S,

Telesto had credited the account of the Basalt Plan with a payment in the amount of DKK

397,676.84 that represented a dividend net of withholding tax of DKK 147,085.96; b) in

connection with 450,631 shares of Pandora A/S, Telesto had credited the account of the Basalt



                                              - 37 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 38 of 86




Plan with a payment in the amount of DKK 2,960,645.67 that represented a dividend net of

withholding tax of DKK 1,095,033.33; and c) in connection with 373,474 shares of Vestas Wind

Systems A/S, Telesto had credited the account of the Basalt Plan with a payment in the amount

of DKK 1,063,280.48 that represented a dividend net of withholding tax of DKK 393,268.12.

SKAT_MDL_001_00057073.

       189.    On May 15, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Basalt Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a dividend credit

advice issued by Telesto; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form (06.003)

stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund of

Danish dividend tax” in the total amount of DKK 358,034.98. The dividend credit advice issued

by Telesto stated that in connection with 294,679 shares of Coloplast A/S – B, Telesto had

credited the account of the Basalt Plan with a payment in the amount of DKK 968,020.52 that

represented a dividend net of withholding tax of DKK 358,034.98.

SKAT_MDL_001_00057073.

       c.      Roadcraft Plan

       190.    On November 27, 2014, Goal Taxback submitted a tax reclaim application on

behalf of the Roadcraft Plan. Included with the application were: 1) a cover letter on the reclaim

agent’s letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a

dividend credit advice issued by Old Park Lane; 4) a Power of Attorney; and 5) an IRS Form

6166. The Form (06.003) stated that it was filed “on behalf of the beneficial owner” and made a

“claim for refund of Danish dividend tax” in the total amount of DKK 1,135,225.94. The

dividend credit advice issued by Old Park Lane stated that in connection with 2,803,027 shares



                                              - 38 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 39 of 86




of TDC A/S, Old Park Lane had credited the account of the Roadcraft Plan with a payment in the

amount of DKK 3,069,314.56 that represented a dividend net of withholding tax of DKK

1,135,225.94. SKAT_MDL_001_00056852.

       191.    On April 28, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Roadcraft Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 65,045,912.65. The dividend credit advices

issued by Solo Capital stated that: a) in connection with 39,785 shares of A.P. Møller Mærsk A/S

- A, Solo Capital had credited the account of Roadcraft Plan with a payment in the amount of

DKK 57,243,851.55 that represented a dividend net of withholding tax of DKK 21,172,383.45;

b) in connection with 40,179 shares of A.P. Møller Mærsk A/S - B, Solo Capital had credited the

account of Roadcraft Plan with a payment in the amount of DKK 57,810,750.57 that represented

a dividend net of withholding tax of DKK 21,382,058.43; c) in connection with 887,986 shares

of Carlsberg A/S - B, Solo Capital had credited the account of Roadcraft Plan with a payment in

the amount of DKK 5,834,068.02 that represented a dividend net of withholding tax of DKK

2,157,805.98; d) in connection with 3,217,471 shares of Danske Bank A/S, Solo Capital had

credited the account of Roadcraft Plan with a payment in the amount of DKK 12,918,146.06 that

represented a dividend net of withholding tax of DKK 4,777,944.44; e) in connection with

633,514 shares of DSV A/S, Solo Capital had credited the account of Roadcraft Plan with a

payment in the amount of DKK 739,944.35 that represented a dividend net of withholding tax of

DKK 273,678.05; f) in connection with 399,512 shares of FLSmidth & Co A/S, Solo Capital had



                                              - 39 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 40 of 86




credited the account of Roadcraft Plan in the amount of DKK 2,624,793.84 that represented a

dividend net of withholding tax of DKK 970,814.16; g) in connection with 591,012 shares of GN

Store Nord A/S, Solo Capital had credited the account of Roadcraft Plan with a payment in the

amount of DKK 388,294.88 that represented a dividend net of withholding tax of DKK

143,615.92; h) in connection with 6,296,082 shares of Novo Nordisk A/S – B, Solo Capital had

credited the account of Roadcraft Plan with a payment in the amount of DKK 22,980,699.30 that

represented a dividend net of withholding tax of DKK 8,499,710.70; i) in connection with

681,437 shares of Novozymes A/S – B, Solo Capital had credited the account of Roadcraft Plan

with a payment in the amount of DKK 1,492,347.03 that represented a dividend net of

withholding tax of DKK 551,963.97; j) in connection with 443,167 shares of Pandora A/S, Solo

Capital had credited the account of Roadcraft Plan with a payment in the amount of DKK

2,911,607.19 that represented a dividend net of withholding tax of DKK 1,076,895.81; k) in

connection with 2,572,455 shares of TDC A/S, Solo Capital had credited the account of

Roadcraft Plan with a payment in the amount of DKK 1,877,892.15 that represented a dividend

net of withholding tax of DKK 694,562.85; l) in connection with 174,450 shares of Tryg A/S,

Solo Capital had credited the account of Roadcraft Plan with a payment in the amount of DKK

3,693,106.50 that represented a dividend net of withholding tax of DKK 1,365,943.50; and m) in

connection with 1,878,951 shares of Vestas Wind Systems A/S, Solo Capital had credited the

account of Roadcraft Plan with a payment in the amount of DKK 5,349,373.50 that represented a

dividend net of withholding tax of DKK 1,978,535.40. SKAT_MDL_001_00056852.

       192.    On May 15, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Roadcraft Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a dividend credit



                                              - 40 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 41 of 86




advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 1,789,899.12. The dividend credit advice

issued by Solo Capital stated that in connection with 1,473,168 shares of Coloplast A/S – B, Solo

Capital had credited the account of the Roadcraft Plan with a payment in the amount of DKK

4,839,356.88 that represented a dividend net of withholding tax of DKK 1,789,899.12.

SKAT_MDL_001_00056852.

       d.      FWC Plan

       193.    On April 13, 2015, Syntax submitted a tax reclaim application on behalf of the

FWC Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 21,231,986.49. The dividend credit advice

issued by Solo Capital stated that in connection with 39,897 shares of A.P. Møller Mærsk A/S –

A, Solo Capital had credited the account of the FWC Plan with a payment in the amount of DKK

57,405,000.51 that represented a dividend net of withholding tax of DKK 21,231,986.49.

SKAT_MDL_001_00082801.

       194.    On April 16, 2015, Syntax submitted a tax reclaim application on behalf of the

FWC Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund



                                              - 41 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 42 of 86




of Danish dividend tax” in the total amount of DKK 30,807,804.06. The dividend credit advices

issued by Solo Capital stated that: a) in connection with 40,288 shares of A.P. Møller Mærsk A/S

– B, Solo Capital had credited the account of the FWC Plan with a payment in the amount of

DKK 57,967,583.04 that represented a dividend net of withholding tax of DKK 21,440,064.96;

and b) in connection with 6,939,066 shares of Novo Nordisk A/S – B, Solo Capital had credited

the account of the FWC Plan with a payment in the amount of DKK 25,327,590.90 that

represented a dividend net of withholding tax of DKK 9,367,739.10..

SKAT_MDL_001_00082801.

       195.    On April 23, 2015, Syntax submitted a tax reclaim application on behalf of the

FWC Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 6,300,496.17. The dividend credit advices

issued by Solo Capital stated that: a) in connection with 749,199 shares of Novozymes A/S - B,

Solo Capital had credited the account of the FWC Plan with a payment in the amount of DKK

1,640,745.81 that represented a dividend net of withholding tax of DKK 606,851.19; b) in

connection with 617,170 shares of DSV A/S, Solo Capital had credited the account of the FWC

Plan with a payment in the amount of DKK 720,854.56 that represented a dividend net of

withholding tax of DKK 266,617.44; c) in connection with 3,192,314 shares of Danske Bank

A/S, Solo Capital had credited the account of the FWC Plan with a payment in the amount of

DKK 12,817,140.71 that represented a dividend net of withholding tax of DKK 4,740,586.29;

and d) in connection with 2,542,375 shares of TDC A/S, Solo Capital had credited the account of



                                              - 42 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 43 of 86




the FWC Plan with a payment in the amount of DKK 1,855,933.75 that represented a dividend

net of withholding tax of DKK 686,441.25. SKAT_MDL_001_00082801.

       196.    On April 28, 2015, Syntax submitted a tax reclaim application on behalf of the

FWC Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 6,777,871.45. The dividend credit advices

issued by Solo Capital stated that: a) in connection with 903,635 shares of Carlsberg A/S – B,

Solo Capital had credited the account of the FWC Plan with a payment in the amount of DKK

5,936,881.95 that represented a dividend net of withholding tax of DKK 2,195,833.05; b) in

connection with 651,369 shares of GN Store Nord A/S, Solo Capital had credited the account of

the FWC Plan with a payment in the amount of DKK 427,949.43 that represented a dividend net

of withholding tax of DKK 158,282.67; c) in connection with 439,702 shares of Pandora A/S,

Solo Capital had credited the account of the FWC Plan with a payment in the amount of DKK

2,888,842.14 that represented a dividend net of withholding tax of DKK 1,068,475.86; d) in

connection with 174,983 shares of Tryg A/S, Solo Capital had credited the account of the FWC

Plan with a payment in the amount of DKK 3,704,390.11 that represented a dividend net of

withholding tax of DKK 1,370,116.89; and e) in connection with 1,885,245 shares of Vestas

Wind Systems A/S, Solo Capital had credited the account of the FWC Plan with a payment in the

amount of DKK 5,367,292.52 that represented a dividend net of withholding tax of DKK

1,985,162.98. SKAT_MDL_001_00082801.




                                              - 43 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 44 of 86




       197.    On April 30, 2015, Syntax submitted a tax reclaim application on behalf of the

FWC Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend credit

advices issued by Old Park Lane; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 3,037,306.22. The dividend credit advices

issued by Old Park Lane stated that: a) in connection with 1,074,214 shares of Coloplast A/S - B,

Old Park Lane had credited the account of the FWC Plan with a payment in the amount of DKK

5,881,321.65 that represented a dividend net of withholding tax of DKK 2,175,283.35; and b) in

connection with 846,864 shares of Chr. Hansen Holding A/S, Old Park Lane had credited the

account of the FWC Plan with a payment in the amount of DKK 2,330,654.41 that represented a

dividend net of withholding tax of DKK 862,022.87. SKAT_MDL_001_00082801.

       198.    On May 15, 2015, Syntax submitted a tax reclaim application on behalf of the

FWC Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 1,786,282.06. The dividend credit advice

issued by Solo Capital stated that in connection with 1,470,191 shares of Coloplast A/S – B, Solo

Capital had credited the account of the FWC Plan with a payment in the amount of DKK

4,829,577.44 that represented a dividend net of withholding tax of DKK 1,786,282.06..

SKAT_MDL_001_00082801.




                                              - 44 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 45 of 86




       199.    On May 28, 2015, Syntax submitted a tax reclaim application on behalf of the

FWC Plan. Included with the application were: 1) a cover letter on the reclaim agent’s

letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a dividend credit

advice issued by Solo Capital; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 988,514.28. The dividend credit advice

issued by Solo Capital stated that in connection with 406,796 shares of FLSmidth & Co A/S,

Solo Capital had credited the account of the FWC Plan with a payment in the amount of DKK

2,672,649.72 that represented a dividend net of withholding tax of DKK 988,514.28..

SKAT_MDL_001_00082801.

       e.      Proper Pacific Plan

       200.    On April 20, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Proper Pacific Plan. Included with the application were: 1) a cover letter on the reclaim

agent’s letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend

credit advices issued by Old Park Lane; 4) a Power of Attorney; and 5) an IRS Form 6166. The

Form (06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for

refund of Danish dividend tax” in the total amount of DKK 2,738,198.25. The dividend credit

advices issued by Old Park Lane stated that: a) in connection with 839,500 shares of Chr. Hansen

Holding A/S, Old Park Lane had credited the account of the Proper Pacific Plan with a payment

in the amount of DKK 2,310,387.95 that represented a dividend net of withholding tax of DKK

854,527.05; and b) in connection with 930,208 shares of Coloplast A/S – B, Old Park Lane had

credited the account of the Proper Pacific Plan with a payment in the amount of DKK




                                              - 45 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22     Page 46 of 86




5,092,888.80 that represented a dividend net of withholding tax of DKK 1,883,671.20.

SKAT_MDL_001_00088872.

       201.    On April 21, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Proper Pacific Plan. Included with the application were: 1) a cover letter on the reclaim

agent’s letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend

credit advices issued by Telesto; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 17,451,427.59. The dividend credit advices

issued by Telesto stated that: a) in connection with 6,634,763 shares of Novo Nordisk A/S - B,

Telesto had credited the account of the Proper Pacific Plan with a payment in the amount of

DKK 24,216,884.95 that represented a dividend net of withholding tax of DKK 8,956,930.05; b)

in connection with 7,879 shares of A.P. Møller Mærsk A/S – A, Telesto had credited the account

of the Proper Pacific Plan with a payment in the amount of DKK 11,336,541.57 that represented

a dividend net of withholding tax of DKK 4,192,967.43; and c) in connection with 8,083 shares

of A.P. Møller Mærsk A/S – B, Telesto had credited the account of the Proper Pacific Plan with

a payment in the amount of DKK 11,630,062.89 that represented a dividend net of withholding

tax of DKK 4,301,530.11. SKAT_MDL_001_00088872.

       202.    On April 27, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Proper Pacific Plan. Included with the application were: 1) a cover letter on the reclaim

agent’s letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) dividend

credit advices issued by Telesto; 4) a Power of Attorney; and 5) an IRS Form 6166. The Form

(06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for refund

of Danish dividend tax” in the total amount of DKK 8,488,609.08. The dividend credit advices



                                              - 46 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22     Page 47 of 86




issued by Telesto stated that: a) in connection with 683,931 shares of Novozymes A/S – B,

Telesto had credited the account of the Proper Pacific Plan with a payment in the amount of

DKK 1,497,808.89 that represented a dividend net of withholding tax of DKK 553,984.11; b) in

connection with 3,293,727 shares of TDC A/S, Telesto had credited the account of the Proper

Pacific Plan with a payment in the amount of DKK 2,404,420.71 that represented a dividend net

of withholding tax of DKK 889,306.29; c) in connection with 692,422 shares of DSV A/S,

Telesto had credited the account of the Proper Pacific Plan with a payment in the amount of

DKK 808,748.90 that represented a dividend net of withholding tax of DKK 299,126.30; d) in

connection with 2,906,712 shares of Danske Bank A/S, Telesto had credited the account of the

Proper Pacific Plan with a payment in the amount of DKK 11,670,448.68 that represented a

dividend net of withholding tax of DKK 4,316,467.32; e) in connection with 400,364 shares of

Pandora A/S, Telesto had credited the account of the Proper Pacific Plan with a payment in the

amount of DKK 2,630,391.48 that represented a dividend net of withholding tax of DKK

972,884.52; f) in connection with 622,804 shares of GN Store Nord A/S, Telesto had credited the

account of the Proper Pacific Plan with a payment in the amount of DKK 409,182.23 that

represented a dividend net of withholding tax of DKK 151,341.37; g) in connection with 34,813

shares of Tryg A/S, Telesto had credited the account of the Proper Pacific Plan with a payment in

the amount of DKK 736,991.21 that represented a dividend net of withholding tax of DKK

272,585.79; h) in connection with 81,037 shares of FLSmidth & Co A/S, Telesto had credited

the account of the Proper Pacific Plan with a payment in the amount of DKK 532,413.09 that

represented a dividend net of withholding tax of DKK 196,919.91; i) in connection with 180,313

shares of Carlsberg A/S – B, Telesto had credited the account of the Proper Pacific Plan with a

payment in the amount of DKK 1,184,656.41 that represented a dividend net of withholding tax



                                              - 47 -
       Case 1:18-md-02865-LAK         Document 790        Filed 04/22/22     Page 48 of 86




of DKK 438,160.59; and j) in connection with 377,809 shares of Vestas Wind Systems A/S,

Telesto had credited the account of the Proper Pacific Plan with a payment in the amount of

DKK 1,075,622.22 that represented a dividend net of withholding tax of DKK 397,832.88.

SKAT_MDL_001_00088872.

        203.   On May 15, 2015, Goal Taxback submitted a tax reclaim application on behalf of

the Proper Pacific Plan. Included with the application were: 1) a cover letter on the reclaim

agent’s letterhead; 2) a “Claim to Relief from Danish Dividend Tax” (Form 06.003); 3) a

dividend credit advice issued by Telesto; 4) a Power of Attorney; and 5) an IRS Form 6166. The

Form (06.003) stated that it was filed “on behalf of the beneficial owner” and made a “claim for

refund of Danish dividend tax” in the total amount of DKK 357,659.55. The dividend credit

advice issued by Telesto stated that in connection with 294,370 shares of Coloplast A/S – B,

Telesto had credited the account of the Proper Pacific Plan with a payment in the amount of

DKK 967,005.45 that represented a dividend net of withholding tax of DKK 357,659.55.

SKAT_MDL_001_00088872.

VII.    Solo Bellwether Reclaim Payments by SKAT

        204.   In total, in 2013 and 2014, the RJM Plan submitted tax reclaim forms requesting

dividend withholding tax refunds in the amount of DKK 59,487,351.62, and SKAT made

payments in response to each of the RJM Plan’s refund claims for a total of DKK 59,487,351.62.

SKAT_MDL_001_00352472 (DKK 2,018,250.00, DKK 405,000.00 DKK 1,036,800.00);

SKAT_MDL_001_00352526 (DKK 3,369,600.00, DKK 1,360,800.00, DKK 1,123,200.00);

SKAT_MDL_001_00450550 (DKK 692,550.00, DKK 11,664,000.00);

SKAT_MDL_001_00352806 (DKK 1,559,250.00); SKAT_MDL_001_00352551 (DKK

2,363,610.94, DKK 825,567.80, DKK 2,141,783.64); SKAT_MDL_001_00352550 (DKK



                                              - 48 -
    Case 1:18-md-02865-LAK           Document 790       Filed 04/22/22     Page 49 of 86




1,123,022.88, DKK 15,018,623.50); SKAT_MDL_001_00352471 (DKK 3,364,956.00, DKK

4,087,314.00, DKK 785,184.03); SKAT_MDL_001_00352829 (DKK 1,482,621.57);

SKAT_MDL_001_00352502 (DKK 572,400.00); SKAT_MDL_001_00353059 (DKK

1,746,360.00); SKAT_MDL_001_00353024 (DKK 652,756.32); SKAT_MDL_001_00352975

(DKK 1,318,621.36); SKAT_MDL_001_00352964 (DKK 103,298.63);

SKAT_MDL_001_00352594 (DKK 671,780.93).

       205.   SKAT made these payments on the following dates: April 15, 2013; April 29,

2013; May 7, 2013; May 13, 2013; September 9, 2013; December 17, 2013; December 20, 2013;

March 26, 2014; April 23, 2014; April 24, 2014; May 6, 2014; June 17, 2014; September 3,

2014; and October 9, 2014. See id.

       206.   SKAT paid each of these refund payments to payment agent Goal Taxback

Limited, as directed by the RJM Plan. Goal Taxback Limited took 0.85% (with a cap of 12,000

Euro per reclaim) of each of the refunds as a fee. MPSKAT00003889 at MPSKAT00003897.

       207.   The RJM Plan paid custodial and other fees to Solo Capital. MPSKAT00158799.

       208.   In total, the Basalt Plan claimed dividend withholding tax refunds in the amount

of DKK 27,853,528.92, and SKAT made payments in response to each of the Basalt Plan’s

refund claims for a total of DKK 27,853,528.92. SKAT_MDL_001_00352681 (DKK

4,189,774.41, DKK 4,191,903.09); SKAT_MDL_00100352759 (DKK 393,268.12, DKK

147,085.96, DKK 1,095,033.33); SKAT_MDL_001_00352713 (DKK 330,872.26, DKK

432,646.92, DKK 4,858,421.04); SKAT_MDL_001_00352751 (DKK 629,493.93, DKK

886,670.55, DKK 275,686.47, DKK 194,421.87); SKAT_MDL_001_00353058 (DKK

358,034.98); SKAT_MDL_001_00352880 (DKK 1,165,131.14); SKAT_MDL_001_00352717

(DKK 8,705,084.85).



                                            - 49 -
     Case 1:18-md-02865-LAK         Document 790        Filed 04/22/22      Page 50 of 86




       209.   SKAT made these payments on the following dates: December 19, 2014; May 8,

2015; May 19, 2015; June 24, 2015; and July 1, 2015. See id.

       210.   SKAT paid each of these refunds to payment agent Goal Taxback Limited, as

directed by the Basalt Plan. Goal Taxback Limited took 0.85%, with a cap of 10,000 Euro per

reclaim, of each of the refunds as a fee. MBJ_0062438

       211.   The Basalt Plan transferred $926,850.13 from its custodial account to its account

at Wells Fargo Bank. JHVM_0001821 at -836; JHVM_0001821 at -852.

       212.   In total, tax reclaim forms requesting dividend withholding tax refunds in the

amount of DKK 67,971,037.72 were submitted on behalf of the Roadcraft Plan, and SKAT made

payments totaling DKK 67,971,037.72 purportedly in connection therewith.

SKAT_MDL_001_00352880 (DKK 1,135,225.94); SKAT_MDL_001_00352759 (DKK

551,963.97, DKK 1,978,535.40, DKK 694,562.85, DKK 21,172,383.45, DKK 21,382,058.43,

DKK 143,615.92, DKK 1,365,943.50, DKK 1,076,895.81, DKK 970,814.16, DKK 273,678.05,

DKK 2,157,805.98, DKK 4,777,944.44, DKK 8,499,710.70); SKAT_MDL_001_00353058

(DKK 1,789,899.12).

       213.   SKAT made these payments on the following dates: December 19, 2014; June 24,

2015; and July 1, 2015. See id.

       214.   SKAT paid each of these refunds to payment agent Goal Taxback Limited, as

directed by Goal Taxback Limited acting as a purported agent for the Roadcraft Plan. Goal

Taxback Limited took 0.85% of each of the refunds as a fee. WH_MDL_00324151;

WH_MDL_00246802.

       215.   In total, the FWC Plan submitted tax reclaim forms requesting dividend

withholding tax refunds in the amount of DKK 70,930,260.73, and SKAT made payments in



                                             - 50 -
     Case 1:18-md-02865-LAK          Document 790       Filed 04/22/22     Page 51 of 86




response to each of the FWC Plan’s refund claims for a total of DKK 70,930,260.73.

SKAT_MDL_001_00352714 (DKK 1,985,162.98; DKK 158,282.67; DKK 1,370,116.89; DKK

1,068,475.86; DKK 2,195,833.05); SKAT_MDL_001_00352765 (DKK 1,786,282.06);

SKAT_MDL_001_00352736 (DKK 606,851.19; DKK 686,441.25; DKK 266,617.44; DKK

4,740,586.29); SKAT_MDL_001_00352831 (DKK 988,514.28); SKAT_MDL_001_00352889

(DKK 862,022.87; DKK 2,175,283.35); SKAT_MDL_001_00352602 (DKK 21,440,064.96;

DKK 9,367,739.10); SKAT_MDL_001_00352549 (DKK 21,231,986.49).

       216.   SKAT made these payments on the following dates: April 24, 2015; May 8, 2015;

May 27, 2015; July 3, 2015; and July 6, 2015. See id.

       217.   SKAT paid each of these refunds to payment agent Syntax GIS as directed by the

FWC Plan. For each refund claim, Syntax GIS took the lower of 0.75% of the net reclaim

amount and EUR 10,000 as a fee. CSCCCAP00000593.

       218.   In total, the Proper Pacific Plan submitted tax reclaim forms requesting dividend

withholding tax refunds in the amount of DKK 29,035,894.47, and SKAT made payments in

response to each of the Proper Pacific Plan’s refund claims for a total of DKK 29,035,893.47.

SKAT_MDL_001_00353009 (DKK 2,738,198.25); SKAT_MDL_001_00352713 (DKK

17,451,427.59); SKAT_MDL_001_0073743 (DKK 8,488,608.48); SKAT_MDL_001_00353058

(DKK 357,659.55).

       219.   SKAT made these payments on the following dates: May 8, 2015; June 24, 2015;

and July 1, 2015. See id.

       220.   SKAT paid each of these refunds to payment agent Goal Taxback Limited as

directed by the Proper Pacific Plan. For each refund claim, Goal Taxback took 1% of each of the

refunds as a fee. PROPPACIF00000533.



                                             - 51 -
     Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22     Page 52 of 86




VIII. Solo Sub-Custodian Records

       221.   Pursuant to a January 30, 2020 letter of request to the competent authority of

Denmark for documents from SEB, SKAT requested account statements, SEB’s stock record,

and any other documents showing Danish securities held for, among others, the Solo Custodians

during the period of January 1, 2012 to December 31, 2015. See ECF No. 253 Ex. 1.

       222.   In response to the letter of request, SEB produced a sworn declaration of the

Chief Operating Officer of SEB. Declaration of Anders Peter Bryde Rasmussen, May 17, 2021.

SEB did not produce any documents reflecting holdings in Danish securities on behalf of the

Solo Custodians during the period of January 1, 2012 to December 31, 2015.

       223.   Pursuant to an April 14, 2021 letter of request to the competent authority of the

United Kingdom for documents from the administrators in the Solo Custodians’ insolvency

proceedings (“Solo Administrators”), SKAT requested “[t]he statements of the Solo Custodians’

accounts holding Danish Securities at any Sub-Custodian, during the Applicable Period” and

“[t]he bank account statements of the Solo Custodians into which any Dividend was paid, during

the Applicable Period.” ECF No 563 Ex. 1 at 10.

       224.   In response to the letter of request, the Solo Administrators produced, among

other things, Société Générale account statements. These account statements do not reflect

holdings of Danish securities in the name of the Solo Custodians.

SCPADMINISTRATORS_00000096-2911.

       225.   Pursuant to April 14, 2021 letters of request to the competent authority of the

United Kingdom for documents from JPMorgan Chase, SKAT requested account statements, JP

Morgan Chase’s stock record, and any other documents showing Danish securities held for,




                                             - 52 -
      Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 53 of 86




among others, the Solo Custodians during the period of January 1, 2012 to December 31, 2016.

See ECF No. 569 Exs. 1, 2.

       226.    In response to the letter of request, JPMorgan Chase produced a sworn declaration

of the Vice President and Assistant General Counsel for JPMorgan Chase. Declaration of

Matthew J. Totman, December 15, 2021. JPM did not produce any documents reflecting

holdings in Danish equities on behalf of the Solo Custodians during the period of January 1,

2012 to December 31, 2016.

       227.    Solo Capital sub-custodian account records from JP Morgan reflect the clearance

of single stock flex futures contracts for the future delivery of Danish securities in 2013. See,

e.g., SCPADMINISTRATORS_00041860-2757. These flex futures were cleared and settled by

BClear, an NYSE Euronext platform, which Solo Capital accessed through JP Morgan.

SCPADMINISTRATORS_00041860-2757.

IX.    SKAT’s Approval and Revocation of Reclaims

       228.    Following its receipt of Form 06.003 and all accompanying materials, SKAT

made an administrative decision to approve the payment of each application for refund of

dividend withholding tax at issue in this litigation.

       229.    SKAT paid out reclaims to the US pension plan defendants between 2012 and

mid-2015.

       230.    SKAT conducted an investigation into the reclaims paid out to the US pension

plan defendants. In the course of its investigation, SKAT met with officials from the IRS in

Washington, D.C. See, e.g., Drost Tr. 81:7-11, 91:3-5.

       231.    The Joint International Taskforce on Shared Intelligence and Collaboration

(JITSIC) is a platform that enables national tax administrations to collaborate and exchange



                                                - 53 -
     Case 1:18-md-02865-LAK           Document 790           Filed 04/22/22   Page 54 of 86




information. See, e.g., https://www.irs.gov/businesses/international-businesses/joint-

international-tax-shelter-information-centre.

       232.    SKAT met with the IRS and received information from the IRS pursuant to

JITSIC. See Drost Tr. 90:15-91:2.

       233.    In correspondence from the IRS to SKAT, the IRS stated explicitly that it was

providing information to SKAT pursuant to the Treaty, and the information could only be used

as permitted under the terms of the Treaty. See, e.g., Ex _ (SKAT_MDL_001_00828252).

       234.    Between November 2015 and June 2018, SKAT had periodic communications

(including at certain meetings) with the IRS by which SKAT requested and was provided with

information pursuant to Article 26 of the double taxation treaty between the US and Denmark.

Ex. 3962, ¶ 33.1 (SKAT Reply To The Defence of Mr. Knott and Mr. Hoogewerf, Signed by Gry

Ahlefeld-Engel on 3 March 2021).

       235.    The purpose of these communications was, in part, to assist SKAT in determining

whether its “previous administrative decisions to accept WHT applications on behalf of US

pension plans were wrong as a matter of Danish tax or administrative law (including because

SKAT had been defrauded).” Ex. 3962, ¶ 33.1(b) (SKAT Reply To The Defence of Mr. Knott

and Mr. Hoogewerf, Signed by Gry Ahlefeld-Engel on 3 March 2021).

       236.    Several years after it had approved reclaim payments to the US pension plan

defendants, SKAT issued letters to the US pension plan defendants informing them that it “has

decided to revoke the previous decisions on dividend tax refunds.” See, e.g., Ex. 3077.

       237.    In its letters revoking previously-approved requests for refunds, SKAT offered

several reasons for its position, including the following:

               a.      The pension plan did not own the shares



                                                - 54 -
     Case 1:18-md-02865-LAK            Document 790        Filed 04/22/22     Page 55 of 86




                b.      The pension plan did not receive dividends

                c.      The pension plan did not have the capital required to make the investments

                        that formed the basis of the claim for refund

                d.      The pension plan was newly established

                e.      The pension plan had one participant only

                f.      The pension plan did not submit Form 5500 to the IRS

                g.      The pension plan “does not fulfill the conditions for refunds of dividend

                        tax withheld on Danish shares, see article 10 of the double taxation

                        convention between Denmark and the USA.” Id.

        238.    In its letters revoking previously-approved requests for refunds, SKAT stated that

“on behalf of the Danish Tax Agency, Kammeradvokaten (the legal advisor to the Danish

government) will raise a claim for repayment and damages” against the pension plan. Id.

        239.    SKAT has not raised a claim for repayment and damages against any defendant in

the above-captioned litigation in Denmark.

        240.    SKAT has only pursued claims against the defendants in the above-captioned

litigation in the United States.

X.      SKAT’s Equitable Claims Against Michel Ben-Jacob

        241.    SKAT asserts claims against Michael Ben-Jacob for payment by mistake, unjust

enrichment, and money had and received in conjunction with its claims against the Basalt Plan

and the Roadcraft Plan, Basalt Am. Compl. ¶¶ 81-94; Roadcraft Am. Compl. ¶¶ 92-105, as well

as 37 other pension plans that pursued reclaims of withheld dividend taxes related to dividends

paid on Danish securities from 2014-2015, which are the plans identified in Schedule B to the




                                               - 55 -
     Case 1:18-md-02865-LAK           Document 790       Filed 04/22/22      Page 56 of 86




June 16, 2021 Complaint in Skatteforvaltningen v. Ben-Jacob, No. 21-cv-05339 (S.D.N.Y.) (all

39 plans collectively, the “Post-Argre Plans”).

       242.     SKAT paid funds in response to reclaim applications made on behalf of the Post-

Argre Plans. These payments occurred in 2014 and 2015, and not in any other years. Basalt

Am. Compl. ¶ 46; Roadcraft Am. Compl. ¶ 50.

       243.     SKAT made those payments to reclaim agents engaged by the Post-Argre Plans,

and those reclaim agents distributed payments received by SKAT to entities as instructed by the

Post- Argre Plans. Basalt Am. Compl. ¶ 65; Roadcraft Am. Compl. ¶ 76; R. Markowitz Tr.

198:3-199:21.

       244.     Neither Michael Ben-Jacob nor his firm, Kaye Scholer LLP (“Kaye Scholer”),

received any funds related to any reclaim applications by the Post-Argre Plans directly from

SKAT or directly from any reclaim agents. Response to Request for Admission from Ben-Jacob

Nos. 43, 44 & 45; Klugman Tr. 300:09-22.

       245.     Michael Ben-Jacob and Kaye Scholer provided services to their clients John van

Merkensteijn, Richard Markowitz, and Robert Klugman related to the Post-Argre Plans’ reclaim

applications. Those clients paid fees to Kaye Scholer for those services. E.g.,

WH_MDL_00355444.

       246.     SKAT does not contend any amount of the dividend tax refund claims raised in

the Complaints filed against the Post-Argre Plans was paid, directly or indirectly, to Michael

Ben-Jacob or to Kaye Scholer, except insofar as SKAT contends Kaye Scholer provided services

to clients in relation to the Post-Argre Plans’ tax refund applications to SKAT, Kaye Scholer’s

fees for those services were paid from the funds paid by SKAT, and Michael Ben-Jacob was then

compensated for those services, in part, from the fees paid to Kaye Scholer. Response to May



                                              - 56 -
      Case 1:18-md-02865-LAK             Document 790          Filed 04/22/22        Page 57 of 86




28, 2021 Interrogatories from Ben-Jacob Nos. 1, 2, & 3; Response to Request for Admission

from Ben-Jacob Nos. 43, 44 & 45.

        247.    The only funds SKAT paid in response to the Post-Argre Plans’ reclaim

applications that SKAT contends Michael Ben-Jacob personally received is that portion of his

personal compensation SKAT contends derived from the legal fees paid to Kaye Scholer by the

firm’s clients for services provided in relation to those reclaim applications. Response to

September 3, 2021 Interrogatory from Ben-Jacob No. 13.

        248.    Michael Ben-Jacob’s compensation for 2014 from Kaye Scholer was $1,303,873.

MBJ_0052786.

        249.    Michael Ben-Jacob’s compensation for 2015 from Kaye Scholer was $1,700,000.

MBJ_0052795.

XI.     ED&F Bellwether Plan Formation & Funding

        250.    The American Investment Group of New York, L.P. Pension Plan (“AIG Plan”) is

a prototype 401(k) plan formed in October 2002, effective as of January 1, 2002.1

        251.    Crema is the sole participant in and beneficiary of the AIG Plan. 2

        252.    Crema is a citizen of a State of the United States. 3

        253.    Crema is a U.S. citizen. 4

        254.    Crema was at all relevant times a trustee of the AIG Plan. 5




1.    AIG_00000368.
2.    Amended Compl. ¶¶ 18, 47, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶¶ 18, 47, 1:18-cv-
      09841-LAK, Dkt. No. 113 (July 2, 2020); Crema Dep. 153:6–14; AIG Plan Resp. to SKAT’s First Req. for
      Admis. (“AIG Plan RFA”) at Req. No. 36.
3.    Amended Compl. ¶ 18, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶ 18, 1:18-cv-09841-
      LAK, Dkt. No. 113 (July 2, 2020).
4.    Amended Compl. ¶ 17, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶ 17, 1:18-cv-09841-
      LAK, Dkt. No. 113 (July 2, 2020).
5.    Crema Dep. 88:14-18.

                                                  - 57 -
      Case 1:18-md-02865-LAK                Document 790           Filed 04/22/22         Page 58 of 86




        255.     Kaminer was at all relevant times a trustee of the AIG Plan. 6

        256.     Kaminer is a citizen of a State of the United States. 7

        257.     The sponsoring entity of the AIG Plan is American Investment Group of New

York, L.P. 8

        258.     American Investment Group of New York, L.P., was formed in June 1984. 9

        259.     The AIG Plan received an individual determination letter from the Internal

Revenue Service (“IRS”), stating that the plan was qualified as to form.10

        260.     A Form 5500-EZ was filed for the AIG Plan with the IRS in 2013 and 2014.11

        261.     The Riverside Associates Defined Benefit Plan (“Riverside Plan”) was

established in 1995.12

        262.     At all relevant times, Schulman was the sole participant in the Riverside Plan. 13

        263.     Schulman is a U.S. citizen. 14

        264.     Schulman is citizen of the State of New York. 15

        265.     At all relevant times, Schulman was a trustee of the Riverside Plan. 16

        266.     The Riverside Plan has no sponsoring entity.17




6.    AIG_00000508.
7.    Amended Compl. ¶ 19, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶ 19, 1:18-cv-09841-
      LAK, Dkt. No. 113 (July 2, 2020).
8.    AIG_00000368.
9.    AIG_00000315; ACER_00015105-21 at ACER_00015106; AIG_00000599-600 at AIG_00000599.
10.   ACER_00015174.
11.   AIGKAMCO_00001040; ACER_00009302.
12.   RIVER_00001979.
13.   David Schulman Dep. Tr. 59:14.
14.   Amended Compl. ¶ 17, 1:18-cv-09840-LAK, Dkt. No. 88 (Apr. 22, 2020); Answer ¶ 17, 1:18-cv-09840-
      LAK, Dkt. No. 110 (July 2, 2020).
15.   Amended Compl. ¶ 18, 1:18-cv-09840-LAK, Dkt. No. 88 (Apr. 22, 2020); Answer ¶ 18, 1:18-cv-09840-
      LAK, Dkt. No. 110 (July 2, 2020).
16.   D. Schulman Dep. 65:6-8.
17.   Riverside Plan’s Answer to SKAT’s First Set of Interrog. (“Riverside Interrog. Resp.”) at Resp. No. 9. (“the
      Plan does not have a sponsoring entity as it is a defined benefit plan.”).

                                                      - 58 -
       Case 1:18-md-02865-LAK            Document 790         Filed 04/22/22       Page 59 of 86




        267.     Schulman made a single contribution of $200,000 to the Riverside Plan in 1995.18

        268.     The Riverside Plan received an individual determination letter from the IRS,

stating that the plan was qualified as to form. 19

        269.     A Form 5500-EZ was filed for the Riverside Plan with the IRS in 2014 and

2015. 20

XII.    ED&F Custody Relationship, Powers of Attorney

        270.     ED&F Man Capital Markets, Ltd. (“ED&F”) is a London-based financial

brokerage business, authorized and regulated by the Financial Conduct Authority (“FCA”). 21

        271.     The AIG Plan was a client of ED&F. 22

        272.     The AIG Plan opened its account at ED&F in or about March 2012. 23

        273.     The Riverside Plan was a client of ED&F. 24

        274.     The Riverside Plan opened its account at ED&F in or about March 2012.25

        275.     ED&F provided financial brokerage, settlement and custody services to the AIG

Plan and the Riverside Plan (together, the “Plans”) in relation to transactions in Danish

securities. 26




18.    Riverside Plan Resp. to SKAT’s First Req. for Admis. (“Riverside Plan RFA”) at Req. No. 1.
19.    ED&F-00162301.
20.    ACER_00009326; RIVER_00001953.
21.    See https://register.fca.org.uk/s/firm?id=001b000000MfISLAA3.
22.    See ED&F-00015573.
23.    See ED&F-00015573.
24.    See ED&F-00005435.
25.    See ED&F-00005435.
26.    AIG Plan RFA 54; ED&F-00039750 (AIG Plan General Ledger); Riverside Plan RFA at Req. No. 39;
       ED&F-00040756 (Riverside Plan General Ledger).

                                                  - 59 -
      Case 1:18-md-02865-LAK              Document 790          Filed 04/22/22        Page 60 of 86




        276.    The AIG Plan and the Riverside Plan each entered into the following agreements

(the “Agreements”), which, among others, governed the Plans’ respective relationships with

ED&F. 27

                a.       Terms and Conditions of Business;28

                b.       Variation to Terms of Business; 29

                c.       Custody Agreement; 30

                d.       Security and Set-Off Deed;31 and

                e.       ISDA Master Agreement and Schedule.32

        277.    Robert Crema, on behalf of the AIG Plan, executed a “Confirmation of Election

Statement/FSA Client Categorisation.” 33

        278.    David Schulman, on behalf of the Riverside Plan, executed a “Confirmation of

Election Statement/FSA Client Categorisation.” 34

        279.    Acer obtained legal advice on the Custody Agreement, the Security and Set-Off

Deed, ISDA Schedule, GMSLA Schedule, and Terms and Conditions of Business and discussed

the terms of the Custody Agreement, the Security and Set-Off Deed, ISDA Schedule, GMSLA

Schedule, and Terms and Conditions of Business with ED&F on behalf of the Plans. 35




27.   AIG Plan RFA at Req. No. 50; Riverside Plan RFA at Req. No. 35; Expert Report of Richard Salter QC,
      dated Feb. 1, 2022 (“Initial Salter Report”) ¶ 89.3.
28.   ACER_00011097.
29.   ED&F Man00001026 (First Variation Letter to AIG Plan; March 26, 2012); AIG_00000604 (Second
      Variation Letter to AIG Plan; May 17, 2013); RIVER_00000308 (First Variation Letter to Riverside Plan;
      March 26, 2012); ACER_00000285 (Second Variation Letter to Riverside Plan; May 17, 2013).
30.   AIG_00000605 (AIG Plan); RIVER_00000221 (Riverside Plan).
31.   AIG_00000674 (AIG Plan); RIVER_00000291 (Riverside Plan).
32.   AIG_00000627 and AIG_00000655 (AIG Plan); RIVER_00000243 and RIVER_00000271 (Riverside
      Plan).
33.   AIG_00000624 (AIG Plan).
34.   RIVER_00000240 (Riverside Plan).
35.   See, e.g., ED&F-00461071; ED&F-00461113; ACER_00022688; ACER_00022678; ACER_00022667;
      ACER_00024600; ACER_00024595.

                                                   - 60 -
      Case 1:18-md-02865-LAK                Document 790            Filed 04/22/22         Page 61 of 86




        280.       The Terms and Conditions of Business, the Custody Agreement, the Security and

Set-Off Deed, and the ISDA Master Agreement and Schedule are governed by English law. 36

        281.       Kaminer sent the Agreements to David Schulman, trustee for the Riverside Plan,

to be signed. 37

        282.       Kaminer sent the Agreements to Robert Crema, trustee for the AIG Plan, to be

signed. 38

XIII. Acer Investment Group, LLC

        283.       Acer Investment Group, LLC (“Acer”) is a financial services firm incorporated in

the State of Delaware. 39

        284.       Acer was formed on October 27, 2000. 40

        285.       At all relevant times, Crema was an officer of Acer. 41

        286.       The AIG Plan authorized Acer to act as its representative and agent in connection

with the AIG Plan’s trading in Danish securities conducted through ED&F. 42

        287.       The Riverside Plan authorized Acer to act as its representative and agent in

connection with the Riverside Plan’s trading in Danish securities conducted through ED&F. 43




36.   Expert Report of Felicity Toube QC, dated Dec. 17, 2021 (“Initial Toube Report”) ¶ 16; Initial Salter Report ¶
      89.5.
37.   David Schulman Dep. Tr. 150:9-11; 143:22-144:7; 142:14-16.
38.   Robert Crema Dep. Tr. 168:1-19; 170:2-22.
39.   See Amended Compl. ¶ 20, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶ 20, 1:18-cv-09841-
      LAK, Dkt. No. 156 (Jan. 15, 2021).
40.   ACER_00013287 at 89; ACER_00013891 at 95.
41.   Amended Compl. ¶ 18, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶ 18, 1:18-cv-09841-
      LAK, Dkt. No. 113 (July 2, 2020).
42.   Amended Compl. ¶ 62, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶ 62, 1:18-cv-09841-
      LAK, Dkt. No. 113 (July 2, 2020); Acer Investment Group LLC’s Answer to SKAT’s First Set of
      Interrog. (“Acer Interrog. Resp.”) at Resp. No. 8; AIG_00000669 (Power of Attorney); Crema Dep.
      89:4-21.
43.   Amended Compl. ¶ 60, 1:18-cv-09840-LAK, Dkt. No. 88 (Apr. 22, 2020); Answer ¶ 60, 1:18-cv-09840-
      LAK, Dkt. No. 110 (July 2, 2020);.Acer Interrog. Resp. No. 8; RIVER_00000285 (Power of Attorney).

                                                      - 61 -
      Case 1:18-md-02865-LAK             Document 790         Filed 04/22/22       Page 62 of 86




           288.   Acer was authorized to manage the AIG Plan’s account with ED&F pursuant to a

power of attorney executed by the AIG Plan and signed by Robert Crema on behalf of the AIG

Plan. 44

           289.   Acer was authorized to manage the Riverside Plan’s account with ED&F pursuant

to a power of attorney executed by the Riverside Plan and signed by David Schulman on behalf

of the Riverside Plan. 45

           290.   By the powers of attorney, the AIG Plan and the Riverside Plan gave, and Acer

accepted, full power and authority to, on behalf of the AIG Plan and Riverside Plan, invest and

trade the cash, assets, and investments in the relevant plan’s trading account at ED&F in

accordance with agreements with ED&F. 46

XIV. The English Litigation

           291.   In 2018, SKAT filed claims against numerous parties, including ED&F, in the

High Court of Justice, Business and Property Courts (the “English Action”). SKAT’s claim

against ED&F in the English Action concerned 420 tax vouchers prepared by ED&F, including

tax vouchers used in tax refund applications submitted to SKAT by or on behalf of the AIG Plan

and the Riverside Plan. The 420 tax vouchers at issue in the English Action involve the same

shares and transactions, and were included in the same withholding tax refund applications, as

are at issue in the MDL. 47

           292.   In or about February 2020, SKAT filed a Re-Re-Amended Particulars of Claim

and “Further Particulars Regarding the Validity of WHT Refund Applications” in the English



44.   AIG_00000669; AIG Plan RFA Req. No. 55.
45.   Riverside Plan RFA Req. Nos. 36, 41; RIVER_00000285.
46.   AIG_00000669 (Power of Attorney)(Acer given “full power and authority to invest and trade the cash,
      assets and investments in the Account in accordance with the Agreement (including the cover letter,
      account opening form and terms of business) . . . .”); RIVER_00000291 (Power of Attorney)(same).
47.   See SKAT Particulars of Claim.

                                                  - 62 -
      Case 1:18-md-02865-LAK             Document 790       Filed 04/22/22     Page 63 of 86




Action and set out its allegations in Re-Amended Schedule 5T to the Re-Re-Amended

Particulars of Claim.

           293.    Paragraph [3(k)] of SKAT’s Re-Re-Amended Particulars of Claim expressly

stated that “SKAT does not allege fraud or dishonesty against ED&F Man, or that the ED&F

Man Applications were made as part of a fraudulent scheme.” Rather, SKAT’s allegations as to

why the representations were false were contained in paragraph 18 of the Re-Amended Schedule

5T. 48

           294.    In March 2021, the English High Court of Justice conducted a hearing on the

preliminary issue of whether any of SKAT’s claims alleged in the English Action were

inadmissible under “Dicey Rule 3.”

           295.    On April 27, 2021, Mr. Justice Andrew Baker dismissed all of the claims asserted

by SKAT in the English Action on the ground that the claims were inadmissible under Dicey

Rule 3, which he concluded was not a rule of jurisdiction but a substantive rule of law. See

Order dated April 27, 2021; Approved Judgment dated April 27, 2021. Mr. Justice Andrew

Baker concluded that SKAT’s claims, in substance, sought “indirectly to enforce . . . Danish

revenue law.” See Approved Judgment dated April 27, 2021.

           296.    SKAT appealed Mr. Justice Andrew Baker’s order on two grounds. Ground 1

was that the Judge had erred in law in concluding that SKAT’s alleged claims were barred

because they fell within the proper scope of Dicey Rule 3. Ground 2 was that the Judge had

erred in law by concluding that Dicey Rule 3 remained applicable to and barred SKAT’s claims

against defendants domiciled in jurisdictions subject to the EU Brussels Recast Regulation (the

“Brussels Regulation”), notwithstanding that such claims were “civil and commercial matters”



48.      Schedule 5T 18(e).

                                                 - 63 -
      Case 1:18-md-02865-LAK                 Document 790           Filed 04/22/22   Page 64 of 86




under the Brussels Regulation. See Court of Appeal Approved Judgment dated February 25,

2022.

        297.     SKAT chose not to pursue its appeal on Ground 1 as against ED&F. SKAT

accepted in its appeal (subject to its contentions as to the effects of the Brussels Regulation) that

Dicey Rule 3 applied to preclude the claims against ED&F. See Court of Appeal Approved

Judgment dated February 25, 2022.

        298.     On February 25, 2022, the English Court of Appeal affirmed the dismissal of

SKAT’s claims against ED&F but allowed SKAT’s appeal on Ground 1 with respect to

defendants other than ED&F. Id.

        299.     However, because SKAT had not pursued Ground 1 against ED&F, SKAT was

“fixed with [Mr Justice Andrew Baker’s] conclusion that, so far as ED&F Man are concerned,

Dicey Rule 3 makes the claim inadmissible” and that SKAT had to “accept” that Dicey Rule 3

applied “in relation to the claim against ED&F Man.” See id.

XV.     Danish Issuers / Dividend Events 49

        300.     Chr Hansen Holding A/S is a Danish company, which issued the following

dividend:

                          Dividend Amount Per Share:                 DKK 6.26
                          Ex-Date:                                   11/27/2013
                          Record Date:                               11/29/2013
                          Pay Date:                                  12/2/2013

                          Dividend Amount Per Share:                 DKK 3.77
                          Ex-Date:                                   11/28/2014
                          Record Date:                               12/1/2014
                          Pay Date:                                  12/2/2014

        301.     Coloplast A/S is a Danish company, which issued the following dividends:

                          Dividend Amount Per Share:                 DKK 7.00

49.   The parties stipulate to the facts in paragraphs 300 - 315.

                                                       - 64 -
Case 1:18-md-02865-LAK        Document 790     Filed 04/22/22    Page 65 of 86




               Ex-Date:                         12/6/2013
               Record Date:                     12/10/2013
               Pay Date:                        12/11/2013

               Dividend Amount Per Share:       DKK 4.00
               Ex-Date:                         5/9/2014
               Record Date:                     5/13/2014
               Pay Date:                        5/14/2014

               Dividend Amount Per Share:        DKK 7.50
               Ex-Date:                          12/5/2014
               Record Date:                      12/8/2014
               Pay Date:                         12/9/2014

               Dividend Amount Per Share:       DKK 4.50
               Ex-Date:                         5/7/2015
               Record Date:                     5/8/2015
               Pay Date:                        5/11/2015

 302.   Danske Bank A/S is a Danish company, which issued the following dividends:

               Dividend Amount Per Share:       DKK 2.00
               Ex-Date:                         3/19/2014
               Record Date:                     3/21/2014
               Pay Date:                        3/24/2014

               Dividend Amount Per Share:       DKK 5.50
               Ex-Date:                         3/19/2015
               Record Date:                     3/20/2015
               Pay Date:                        3/23/2015

 303.   D/S Norden A/S is a Danish company, which issued the following dividend:

               Dividend Amount Per Share:        DKK 3.00
               Ex-Date:                          4/25/2013
               Record Date:                      4/30/2013
               Pay Date:                         5/1/2013

               Dividend Amount Per Share:        DKK 5.00
               Ex-Date:                          4/24/2014
               Record Date:                      4/28/2014
               Pay Date:                         4/29/2014

 304.   DSV A/S is a Danish company, which issued the following dividend:

               Dividend Amount Per Share:       DKK 1.25


                                     - 65 -
    Case 1:18-md-02865-LAK         Document 790     Filed 04/22/22    Page 66 of 86




                    Ex-Date:                         3/22/2013
                    Record Date:                     3/26/2013
                    Pay Date:                        3/27/2013

                    Dividend Amount Per Share:       DKK 1.60
                    Ex-Date:                         3/13/2015
                    Record Date:                     3/16/2015
                    Pay Date:                        3/17/2015

      305.   AP Moeller - Maersk A/S is a Danish company, which issued the following

dividends:

                    Dividend Amount Per Share:       DKK 1200.00
                    Ex-Date:                         4/12/2013
                    Record Date:                     4/16/2013
                    Pay Date:                        4/17/2013

                    Dividend Amount Per Share:       DKK 1400.00
                    Ex-Date:                         4/1/2014
                    Record Date:                     4/3/2014
                    Pay Date:                        4/4/2014

                    Dividend Amount Per Share:       DKK 1971.00
                    Ex-Date:                         3/31/2015
                    Record Date:                     4/1/2015
                    Pay Date:                        4/7/2015

      306.   Novo Nordisk A/S is a Danish company, which issued the following dividends:

                    Dividend Amount Per Share:       DKK 18.00
                    Ex-Date:                         3/21/2013
                    Record Date:                     3/25/2013
                    Pay Date:                        3/26/2013

                    Dividend Amount Per Share:       DKK 4.50
                    Ex-Date:                         3/21/2014
                    Record Date:                     3/25/2014
                    Pay Date:                        3/26/2014

                    Dividend Amount Per Share:       DKK 5.00
                    Ex-Date:                         3/20/2015
                    Record Date:                     3/23/2015
                    Pay Date:                        3/24/2015

      307.   Novozymes A/S is a Danish company, which issued the following dividends:


                                          - 66 -
Case 1:18-md-02865-LAK       Document 790       Filed 04/22/22    Page 67 of 86




               Dividend Amount Per Share:        DKK 2.20
               Ex-Date:                          3/1/2013
               Record Date:                      3/5/2013
               Pay Date:                         3/6/2013

               Dividend Amount Per Share:        DKK 2.50
               Ex-Date:                          2/27/2014
               Record Date:                      3/3/2014
               Pay Date:                         3/4/2014

               Dividend Amount Per Share:        DKK 3.00
               Ex-Date:                          2/26/2015
               Record Date:                      2/27/2015
               Pay Date:                         3/2/2015

 308.   Pandora A/S is a Danish company, which issued the following dividend:

               Dividend Amount Per Share:        DKK 5.50
               Ex-Date:                          3/21/2013
               Record Date:                      3/25/2013
               Pay Date:                         3/26/2013

               Dividend Amount Per Share:        DKK 6.50
               Ex-Date:                          3/20/2014
               Record Date:                      3/24/2014
               Pay Date:                         3/25/2014

               Dividend Amount Per Share:        DKK 9.00
               Ex-Date:                          3/19/2015
               Record Date:                      3/20/2015
               Pay Date:                         3/23/2015

 309.   TDC A/S is a Danish company, which issued the following dividends:

              Dividend Amount Per Share:         DKK 2.30
              Ex-Date:                           3/8/2013
              Record Date:                       3/12/2013
              Pay Date:                          3/13/2013

              Dividend Amount Per Share:         DKK 1.50
              Ex-Date:                           8/8/2013
              Record Date:                       8/12/2013
              Pay Date:                          8/13/2013

              Dividend Amount Per Share:         DKK 2.20
              Ex-Date:                           3/7/2014


                                     - 67 -
Case 1:18-md-02865-LAK       Document 790       Filed 04/22/22    Page 68 of 86




              Record Date:                       3/11/2014
              Pay Date:                          3/12/2014

              Dividend Amount Per Share:         DKK 1.50
              Ex-Date:                           8/8/2014
              Record Date:                       8/12/2014
              Pay Date:                          8/13/2014

              Dividend Amount Per Share:         DKK 1.00
              Ex-Date:                           3/6/2015
              Record Date:                       3/9/2015
              Pay Date:                          3/10/2015

 310.   Carlsberg A/S is a Danish company, which issued the following dividends:

              Dividend Amount Per Share:         DKK 6.00
              Ex-Date:                           3/22/2013
              Record Date:                       3/26/2013
              Pay Date:                          3/27/2013

              Dividend Amount Per Share:         DKK 8.00
              Ex-Date:                           3/21/2014
              Record Date:                       3/25/2014
              Pay Date:                          3/26/2014

              Dividend Amount Per Share:         DKK 9.00
              Ex-Date:                           3/27/2015
              Record Date:                       3/30/2015
              Pay Date:                          3/31/2015

 311.   FLSmidth & Co. A/S is a Danish company, which issued the following dividends:

               Dividend Amount Per Share:        DKK 9.00
               Ex-Date:                          4/8/2013
               Record Date:                      4/10/2013
               Pay Date:                         4/11/2013

               Dividend Amount Per Share:        DKK 9.00
               Ex-Date:                          3/27/2015
               Record Date:                      3/30/2015
               Pay Date:                         3/31/2015

 312.   H. Lundbeck A/S is a Danish company, which issued the following dividends:

               Dividend Amount Per Share:        DKK 2.00
               Ex-Date:                          3/22/2013


                                     - 68 -
     Case 1:18-md-02865-LAK          Document 790       Filed 04/22/22     Page 69 of 86




                      Record Date:                        3/26/2013
                      Pay Date:                           3/27/2013

       313.   Tryg A/S is a Danish company, which issued the following dividends:

                      Dividend Amount Per Share:          DKK 26.00
                      Ex-Date:                            4/19/2013
                      Record Date:                        4/23/2013
                      Pay Date:                           4/24/2013

                      Dividend Amount Per Share:          DKK 27.00
                      Ex-Date:                            4/4/2014
                      Record Date:                        4/8/2014
                      Pay Date:                           4/9/2014

                      Dividend Amount Per Share:          DKK 29.00
                      Ex-Date:                            3/26/2015
                      Record Date:                        3/27/2015
                      Pay Date:                           3/30/2015

       314.   GN Store Nord A/S is a Danish company, which issued the following dividends:

                      Dividend Amount Per Share:          DKK 0.90
                      Ex-Date:                            3/20/2015
                      Record Date:                        3/23/2015
                      Pay Date:                           3/24/2015

       315.   Vestas Wind Systems A/S is a Danish company, which issued the following

dividends:

                      Dividend Amount Per Share:          DKK 3.90
                      Ex-Date:                            3/31/2015
                      Record Date:                        4/1/2015
                      Pay Date:                           4/7/2015

XVI. The AIG Plan and Riverside Plan’s Trades in Danish Securities

       316.   In Denmark, all securities issued by Danish listed companies are housed at a

central securities depository (“CSD”) known as VP Securities. VP Securities acts as the “record

keeper of the general ledger” of each Danish issued security and issues ISIN codes for them so




                                             - 69 -
      Case 1:18-md-02865-LAK                Document 790    Filed 04/22/22      Page 70 of 86




that they can be held in custodial accounts, and settlement of transactions in those securities may

be recorded by VP Securities. See Helen Sorensen Dep. Tr. at 34:8-35:9.

        317.      The transactions in Danish securities undertaken by the AIG Plan and the

Riverside Plan through ED&F were all over-the-counter (“OTC”) transactions.50

        318.      The AIG Plan engaged in a total of 14 relevant trades in Danish securities as

identified on Appendix B. 51

        319.      The Riverside Plan engaged in a total of 11 relevant trades in Danish securities as

identified in Appendix B. 52

        320.      For each transaction, ED&F executed a trade on behalf of the AIG or Riverside

Plans to acquire the shares of Danish securities on the trade date, which in each case was before

the ex-dividend date of the relevant Danish securities.

        321.      For each trade, Acer sent a written trade instruction on behalf of the AIG or

Riverside Plans to ED&F. In every case, the decision to purchase shares of Danish securities

was communicated to ED&F by Acer on behalf of the AIG or Riverside Plans.

        322.      On the trade date for each trade, Acer received a trade confirmation from ED&F

that included a description of the securities and stated the number of shares purchased by the

AIG or Riverside Plans, the trade price, and the trade date. 53

XVII. Tax Vouchers Prepared by ED&F for the Riverside Plan

        323.      ED&F prepared tax vouchers on behalf of the AIG Plan and the Riverside Plan

(the “Tax Vouchers”).

                  a.       Kaminer instructed ED&F to send the Tax Vouchers for the Acer Plans to


50.   The parties stipulate to this fact.
51.   Appendix B.
52.   Appendix B.
53.   See, e.g., ED&F-00040949.

                                                  - 70 -
      Case 1:18-md-02865-LAK              Document 790      Filed 04/22/22      Page 71 of 86




                         Goal Taxback Limited (“Goal”).54

                b.       Kaminer testified that her purpose in making this request was to facilitate

                         submission of reclaim applications for dividend withholding tax to SKAT

                         on behalf of, among others, the AIG Plan and the Riverside Plan.55

                c.       On the instructions of Acer, ED&F emailed the Tax Vouchers to Goal,

                         copying Acer.

        324.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 2,150,000 shares of TDC A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 3,452,900.00 and “WHT Suffered”

in the amount of DKK 1,277,100.00 at a tax rate of 27% of the gross dividend amount. The tax

voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the

holding” and that the “dividends specified on this credit advice were paid net of withholding tax

to” the Riverside Plan. 56

        325.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 2,000,000 shares of Danske A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 2,920,000.00 and “WHT Suffered”

in the amount of DKK 1,080,000.00 at a tax rate of 27% of the gross dividend amount. The tax

voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the

holding” and that the “dividends specified on this credit advice were paid net of withholding tax

to” the Riverside Plan. 57




54.   S. Kaminer Dep. Tr. Vol. II 318:8-14.
55.   Id.
56.   ED&F-00041310.
57.   ED&F-00046709.

                                                - 71 -
      Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 72 of 86




       326.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 2,000,000 shares of Novo Nordisk A/S stock over the “dividend date”.

The tax voucher indicates “Amount Received” in the amount of DKK 6,570,000.00 and “WHT

Suffered” in the amount of DKK 2,430,000.00 at a tax rate of 27% of the gross dividend amount.

The tax voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest

in the holding” and that the “dividends specified on this credit advice were paid net of

withholding tax to” the Riverside Plan. 58

       327.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 175,000 shares of Tryg A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 3,449,250.00 and “WHT Suffered”

in the amount of DKK 1,275,750.00 at a tax rate of 27% of the gross dividend amount. The tax

voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the

holding” and that the “dividends specified on this credit advice were paid net of withholding tax

to” the Riverside Plan. 59

       328.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 322,500 shares of D/S Norden A/S stock over the “dividend date”. The

tax voucher indicates “Amount Received” in the amount of DKK 1,177,125.00 and “WHT

Suffered” in the amount of DKK 435,375.00 at a tax rate of 27% of the gross dividend amount.

The tax voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest

in the holding” and that the “dividends specified on this credit advice were paid net of

withholding tax to” the Riverside Plan. 60



58.   ED&F-00049490.
59.   ED&F-00044891.
60.   ED&F-00076758.

                                              - 72 -
      Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22     Page 73 of 86




       329.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 850,000 shares of Coloplast A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 2,482,000.00 and “WHT Suffered”

in the amount of DKK 918,000.00 at a tax rate of 27% of the gross dividend amount. The tax

voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the

holding” and that the “dividends specified on this credit advice were paid net of withholding tax

to” the Riverside Plan. 61

       330.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 2,000,000 shares of TDC A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 1,460,000 and “WHT Suffered” in

the amount of DKK 540,000 at a tax rate of 27% of the gross dividend amount. The tax voucher

also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the holding”

and that the “dividends specified on this credit advice were paid net of withholding tax to” the

Riverside Plan. 62

       331.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 850,000 shares of DSV A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 992,800.00 and “WHT Suffered”

in the amount of DKK 367,200 at a tax rate of 27% of the gross dividend amount. The tax

voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the

holding” and that the “dividends specified on this credit advice were paid net of withholding tax

to” the Riverside Plan. 63



61.   ED&F-00045466.
62.   ED&F-00043382.
63.   ED&F-00038285.

                                              - 73 -
      Case 1:18-md-02865-LAK          Document 790        Filed 04/22/22      Page 74 of 86




       332.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 300,000 shares of Pandora A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 1,971,000.00 and “WHT Suffered”

in the amount of DKK 729,000 at a tax rate of 27% of the gross dividend amount. The tax

voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the

holding” and that the “dividends specified on this credit advice were paid net of withholding tax

to” the Riverside Plan. 64

       333.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 1,200,000 shares of Danske A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 4,818,000.00 and indicates “WHT

Suffered” in the amount of DKK 1,782,000 at a tax rate of 27% of the gross dividend amount.

The tax voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest

in the holding” and that the “dividends specified on this credit advice were paid net of

withholding tax to” the Riverside Plan. 65

       334.    ED&F prepared a tax voucher for the Riverside Plan in which it “confirms” that

the Riverside Plan held 1,400,000 shares of Novo Nordisk A/S stock over the “dividend date”.

The tax voucher indicates “Amount Received” in the amount of DKK 5,110,000.00 and “WHT

Suffered” in the amount of DKK 1,890,000 at a tax rate of 27% of the gross dividend amount.

The tax voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest

in the holding” and that the “dividends specified on this credit advice were paid net of

withholding tax to” the Riverside Plan. 66



64.   ED&F-00043997.
65.   ED&F-00047364.
66.   ED&F-00049905.

                                              - 74 -
      Case 1:18-md-02865-LAK           Document 790       Filed 04/22/22      Page 75 of 86




XVIII. Tax Vouchers Prepared by ED&F for the AIG Plan

           335.   ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 500,000 shares of Coloplast A/S stock over the “dividend date”. The tax voucher

indicates “Amount Received” in the amount of DKK 2,555,000 and “WHT Suffered” in the

amount of DKK 945,000 at a tax rate of 27% of the gross dividend amount. The tax voucher also

stated that “ED&F Man Capital Markets Limited has no beneficial interest in the holding” and

that the “dividends specified on this credit advice were paid net of withholding tax to” the AIG

Plan. 67

           336.   ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 5,000,000 shares of TDC A/S stock over the “dividend date”. The tax voucher

indicates “Amount Received” in the amount of DKK 8,030,000.00 and “WHT Suffered” in the

amount of DKK 2,970,000.00 at a tax rate of 27% of the gross dividend amount. The tax voucher

also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the holding”

and that the “dividends specified on this credit advice were paid net of withholding tax to” the

AIG Plan. 68

           337.   ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 7,750,000 shares of Danske A/S stock over the “dividend date”. The tax voucher

indicates “Amount Received” in the amount of DKK 11,315,000.00 and “WHT Suffered” in the

amount of DKK 4,185,000 at a tax rate of 27% of the gross dividend amount. The tax voucher

also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the holding”




67.   ED&F-00044985.
68.   ED&F-00040919.

                                               - 75 -
      Case 1:18-md-02865-LAK           Document 790       Filed 04/22/22      Page 76 of 86




and that the “dividends specified on this credit advice were paid net of withholding tax to” the

AIG Plan. 69

       338.    ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 3,500,000 shares of Novo Nordisk A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 11,497,500.00 and “WHT

Suffered” in the amount of DKK 4,252,500.00 at a tax rate of 27% of the gross dividend amount.

The tax voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest

in the holding” and that the “dividends specified on this credit advice were paid net of

withholding tax to” the AIG Plan. 70

       339.    ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 750,000 shares of Novozymes A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” in the amount of DKK 1,642,500.00 and “WHT Suffered”

in the amount of DKK 607,500 at a tax rate of 27% of the gross dividend amount. The tax

voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the

holding” and that the “dividends specified on this credit advice were paid net of withholding tax

to” the AIG Plan. 71

       340.    ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 50,000 shares of Tryg A/S stock over the “dividend date”. The tax voucher

indicates “Amount Received” in the amount of DKK 985,500 and “WHT Suffered” in the

amount of DKK 364,500 at a tax rate of 27% of the gross dividend amount. The tax voucher also

stated that “ED&F Man Capital Markets Limited has no beneficial interest in the holding” and



69.   ED&F-00045804.
70.   ED&F-00048728.
71.   ED&F-00076389.

                                              - 76 -
      Case 1:18-md-02865-LAK           Document 790       Filed 04/22/22      Page 77 of 86




that the “dividends specified on this credit advice were paid net of withholding tax to” the AIG

Plan. 72

           341.   ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 1,000 shares of AP Moeller – Maersk A/S B stock over the “dividend date”. The

tax voucher indicates “Amount Received” in the amount of DKK 1,022,000.00 and “WHT

Suffered” in the amount of DKK 378,000 at a tax rate of 27% of the gross dividend amount. The

tax voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest in

the holding” and that the “dividends specified on this credit advice were paid net of withholding

tax to” the AIG Plan. 73

           342.   ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 3,400,000 shares of TDCA/S stock over the “dividend date”. The tax voucher

indicates “Amount Received” in the amount of DKK 3,723,000.00 and “WHT Suffered” in the

amount of DKK 1,377,000 at a tax rate of 27% of the gross dividend amount. The tax voucher

also stated that “ED&F Man Capital Markets Limited has no beneficial interest in the holding”

and that the “dividends specified on this credit advice were paid net of withholding tax to” the

AIG Plan. 74

           343.   ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 800,000 shares of Chr. Hansen Holding A/S stock over the “dividend date”. The

tax voucher indicates “Amount Received” in the amount of DKK 2,201,680 and “WHT

Suffered” in the amount of DKK 814,320 at a tax rate of 27% of the gross dividend amount. The

tax voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest in



72.   ED&F-00044535.
73.   ED&F-00077536.
74.   ED&F-00042261.

                                               - 77 -
      Case 1:18-md-02865-LAK            Document 790         Filed 04/22/22         Page 78 of 86




the holding” and that the “dividends specified on this credit advice were paid net of withholding

tax to” the AIG Plan. 75

       344.     ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 1,500,000 shares of Coloplast A/S stock over the “dividend date”. The tax

voucher indicates “Amount Received” of DKK 8,212,500 and “WHT Suffered” in the amount of

DKK 3,037,500 at a tax rate of 27% of the gross dividend amount. The tax voucher also stated

that “ED&F Man Capital Markets Limited has no beneficial interest in the holding” and that the

“dividends specified on this credit advice were paid net of withholding tax to” the AIG Plan. 76

       345.     ED&F prepared a tax voucher for the AIG Plan in which it “confirms” that the

AIG Plan held 4,000 shares of AP Moeller - Maersk A/S B stock over the “dividend date”. The

tax voucher indicates “Amount Received” in the amount of DKK 5,755,320.00 and “WHT

Suffered” in the amount of DKK 2,128,680.00 at a tax rate of 27% of the gross dividend amount.

The tax voucher also stated that “ED&F Man Capital Markets Limited has no beneficial interest

in the holding” and that the “dividends specified on this credit advice were paid net of

withholding tax to” the AIG Plan. 77

XIX. ED&F Trades – Funding

       346.     The AIG Plan initially funded its ED&F account with $200,000. 78

       347.     The Riverside Plan initially funded its ED&F account with $300,000. 79

       348.     ED&F provided financing to the AIG Plan and the Riverside Plan to facilitate all

of the AIG Plan and Riverside Plan’s purchases of Danish securities.80



75.   ED&F-00026785.
76.   ED&F-00045535.
77.   ED&F-00078083.
78.   ED&F-00039750.
79.   ED&F-00040756.
80.   AIG Plan RFA Req. No. 40; Riverside RFA Req. No. 24; Acer RFA Req. No. 178.

                                                 - 78 -
      Case 1:18-md-02865-LAK              Document 790           Filed 04/22/22        Page 79 of 86




        349.      Without the financing provided by ED&F, the AIG Plan and the Riverside Plan

did not have sufficient capital to pay for all of the Danish securities identified in Appendix B,

and in making the trades in Danish securities, incurred financing costs payable to ED&F. 81

XX.     Reclaim Submissions to SKAT on Behalf of the AIG Plan and the Riverside Plan

        350.      The AIG Plan authorized Goal to prepare reclaims for dividend withholding tax

and to submit the reclaims to SKAT on its behalf. 82

           351.   Stacey Kaminer served at all relevant times as the authorized representative for

the AIG Plan with respect to the AIG Plan’s withholding-tax refund claims submitted by Goal.83

        352.      Goal acted as agent for the AIG Plan under a power of attorney granted by the

AIG Plan and signed by Stacey Kaminer as trustee of the AIG Plan. 84

        353.      The Riverside Plan authorized Goal to prepare reclaims for dividend withholding

tax and to submit the reclaims to SKAT on its behalf. 85

           354.   At all relevant times, Schulman served as the authorized representative for the

Riverside Plan with respect to the Riverside Plan’s withholding-tax refund claims submitted by

Goal. 86

        355.      Goal acted as agent for the Riverside Plan under a power of attorney granted by

the Riverside Plan and signed by Schulman as trustee of the Riverside Plan. 87



81.   AIG Plan RFA Resp. No. 42; Riverside Plan RFA Resp. No. 26.
82.   Amended Compl. ¶ 49, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶ 49, 1:18-cv-09841-
      LAK, Dkt. No. 113 (July 2, 2020); Stacey Kaminer Dep. Tr. Vol. II 312:12-14; 324:13-23; AIG Plan RFA
      Resp. No. 38.
83.   Amended Compl. ¶ 19, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶ 19, 1:18-cv-09841-
      LAK, Dkt. No. 113 (July 2, 2020); S Kaminer Dep. 373:17-19, 374:5-9.
84.   ACER_00016703.
85.   Amended Compl. ¶ 48, 1:18-cv-09840-LAK, Dkt. No. 88 (Apr. 22, 2020); Answer ¶ 48, 1:18-cv-09840-
      LAK, Dkt. No. 110 (July 2, 2020);.Stacey Kaminer Dep. Tr. Vol. II 312:12-14; 324:13-23; Riverside Plan
      RFA Resp. No. 19; ACER_00016920.
86.   Amended Compl. ¶ 18, 1:18-cv-09840-LAK, Dkt. No. 88 (Apr. 22, 2020); Answer ¶ 18, 1:18-cv-09840-
      LAK, Dkt. No. 110 (July 2, 2020)
87.   ACER_00016918.

                                                    - 79 -
      Case 1:18-md-02865-LAK             Document 790         Filed 04/22/22       Page 80 of 86




        356.    All of the withholding tax refund applications submitted to SKAT on behalf of the

AIG Plan were submitted by Goal, as agent for the AIG Plan. 88

        357.    All of the withholding tax refund applications submitted to SKAT on behalf of the

Riverside Plan were submitted by Goal, as agent for the Riverside Plan. 89

        358.    Goal, as agent for the AIG Plan, submitted nine applications for refunds of

dividend withholding tax to SKAT. 90

        359.    The AIG Plan Applications each included one or more Tax Vouchers created by

ED&F. 91

        360.    In connection with each dividend withholding tax refund claim submitted to

SKAT on behalf of the AIG Plan, Goal provided SKAT with Internal Revenue Code Form 6166

(Certification of U.S. Tax Residency) (“Form 6166”).92

        361.    The Form 6166 stated that to the best of the knowledge of the IRS, the AIG Plan

“is a trust forming part of a pension, profit sharing, or stock bonus plan qualified under section

401(a) of the U.S. Internal Revenue Code, which is exempt from U.S. taxation under section

501(a), and is a resident of the United States of America for purposes of U.S. taxation.”93

        362.    Each Form 6166 submitted to SKAT on behalf of the AIG Plan was prepared by

the IRS. 94




88.   Amended Compl. ¶ 36, 1:18-cv-09841-LAK, Dkt. No. 89 (Apr. 22, 2020); Answer ¶ 36, 1:18-cv-09841-
      LAK, Dkt. No. 113 (July 2, 2020).
89.   Amended Compl. ¶ 35, 1:18-cv-09840-LAK, Dkt. No. 88 (Apr. 22, 2020); Answer ¶ 35, 1:18-cv-09840-
      LAK, Dkt. No. 110 (July 2, 2020).
90.   AIG Plan RFA Resp. Nos. 23, 37 – 39; see also SKAT_MDL_001_017584 – 96;
      SKAT_MDL_001_00081821 – 65.
91.   SKAT_MDL_001_017584 – 96; SKAT_MDL_001_00081821 – 65.
92.   SKAT’s Amended Complaint against AIG Plan, ¶ 30; AIG Plan’s Answer to Amended Complaint, ¶ 30.
93.   See e.g. SKAT_MDL_001_017588 (AIG Form 6166).
94.   SKAT’s Response to Acer’s Second Request for Admission No. 48.

                                                  - 80 -
       Case 1:18-md-02865-LAK            Document 790        Filed 04/22/22       Page 81 of 86




        363.    SKAT does not allege that the IRS engaged in any fraudulent activity in

connection with the issuance of any Form 6166 (Certification of U.S. Tax Residency) appended

to any dividend withholding tax refund claims submitted to SKAT on behalf of the AIG Plan. 95

        364.    SKAT does not allege the IRS made any false statements or misrepresentations to

SKAT in connection with the issuance of any Form 6166 (Certification of U.S. Tax Residency)

appended to any dividend withholding tax refund claims submitted to SKAT on behalf of the

AIG Plan. 96

        365.    In connection with each dividend withholding tax refund claim submitted to

SKAT on behalf of the AIG Plan, SKAT accepted a copy of IRS Form 6166 as sufficient

evidence that the AIG Plan was a trust forming part of a pension, profit sharing, or stock bonus

plan qualified under section 401(a) of the U.S. Internal Revenue Code.97

        366.    In connection with each dividend withholding tax refund claim submitted to

SKAT on behalf of the AIG Plan, SKAT did not require the AIG Plan to provide any document

other than a copy of IRS Form 6166 to demonstrate that it was a trust forming part of a pension,

profit sharing, or stock bonus plan qualified under section 401(a) of the U.S. Internal Revenue

Code. 98

        367.    Goal, as agent for the Riverside Plan, submitted 8 applications for refunds of

dividend withholding tax to SKAT. 99

        368.    The Riverside Plan Applications each included one or more Tax Vouchers created

by ED&F. 100



95.    SKAT’s Response to Defendants’ Request for Admission No. 127.
96.    SKAT’s Response to Defendants’ Request for Admission No. 128.
97.    SKAT’s Response to Defendants’ Request for Admission No. 52.
98.    SKAT’s Response to Defendants’ Request for Admission No. 53.
99.    Riverside Plan RFA Resp. Nos. 9, 19 – 21; see also SKAT_MDL_001_00082179 – 240.
100.   SKAT_MDL_001_00082179 – 240.

                                                 - 81 -
     Case 1:18-md-02865-LAK             Document 790          Filed 04/22/22      Page 82 of 86




        369.      In connection with each dividend withholding tax refund claim submitted to

SKAT on behalf of the Riverside Plan, Goal provided SKAT with Form 6166. 101

        370.      Each Form 6166 submitted to SKAT on behalf of the Riverside Plan was prepared

by the IRS. 102

        371.      The Form 6166 stated that to the best of the knowledge of the IRS, the Riverside

Plan “is a trust forming part of a pension, profit sharing, or stock bonus plan qualified under

section 401(a) of the U.S. Internal Revenue Code, which is exempt from U.S. taxation under

section 501(a), and is a resident of the United States of America for purposes of U.S.

taxation.” 103

        372.      SKAT does not allege that the IRS engaged in any fraudulent activity in

connection with the issuance of any Form 6166 (Certification of U.S. Tax Residency) appended

to any dividend withholding tax refund claims submitted to SKAT on behalf of the Riverside

Plan. 104

        373.      SKAT does not allege the IRS made any false statements or misrepresentations to

SKAT in connection with the issuance of any Form 6166 (Certification of U.S. Tax Residency)

appended to any dividend withholding tax refund claims submitted to SKAT on behalf of the

Riverside Plan. 105

        374.      In connection with each dividend withholding tax refund claim submitted to

SKAT on behalf of the Riverside Plan, SKAT accepted a copy of IRS Form 6166 as sufficient




101. SKAT’s Amended Complaint against Riverside Plan, ¶ 29; Riverside Plan’s Answer to Amended Complaint,
     ¶ 29.
102. SKAT’s Response to Acer’s Second Request for Admission No. 48.
103. See e.g. SKAT_MDL_001_00082192 (Riverside Plan Form 6166).
104. SKAT’s Response to Defendants’ Request for Admission No. 127.
105. SKAT’s Response to Defendants’ Request for Admission No. 128.

                                                 - 82 -
     Case 1:18-md-02865-LAK           Document 790        Filed 04/22/22      Page 83 of 86




evidence that the Riverside Plan was a trust forming part of a pension, profit sharing, or stock

bonus plan qualified under section 401(a) of the U.S. Internal Revenue Code. 106

        375.    In connection with each dividend withholding tax refund claim submitted to

SKAT on behalf of the Riverside Plan, SKAT did not require the Riverside Plan to provide any

document other than a copy of IRS Form 6166 to demonstrate that it was a trust forming part of a

pension, profit sharing, or stock bonus plan qualified under section 401(a) of the U.S. Internal

Revenue Code.107

        376.     In total, the AIG Plan, through its agent Goal, claimed dividend withholding tax

refunds for the AIG Plan in the amount of DKK 21,060,000 and, subsequently, SKAT made

payments to Goal in the amount of DKK 21,060,000.108

        377.    In total, the Riverside Plan, through its agent Goal, claimed dividend withholding

tax refunds for the Riverside Plan in the amount of DKK 12,724,425 and, subsequently, SKAT

made payments to Goal in the amount of DKK 12,724,425.109

        378.     SKAT paid each of these refunds to payment agent Goal as directed by Goal, as

agent for the Plans. 110

        379.    For each refund claim, Goal was contractually entitled to 0.85% of the refund

amount as a fee, capped at $16,400 or €12,000. 111



106. SKAT’s Response to Defendants’ Request for Admission No. 52.
107. SKAT’s Response to Defendants’ Request for Admission No. 53.
108. Acer RFA Req. No. 24; AIG Plan RFA Req. No.35; SKAT_MDL_001_00352582 (945,000 DKK);
     SKAT_MDL_00352551 (2,970,000 DKK); SKAT_MDL_001_00352440 (8,437,500 DKK);
     SKAT_MDL_001_00352471 (742,500 DKK); SKAT_MDL_001_00352964 (1,377,000 DKK);
     SKAT_MDL_001_00352880 (814,320 DKK); SKAT_MDL_001_00353051 (3,037,500 DKK);
     SKAT_MDL_001_00352510 (607,500 DKK); SKAT_MDL_001_00352681 (2,128,680 DKK).
109. SKAT_MDL_001_00352551 (1,277,100 DKK); SKAT_MDL_001_00352440 (3,510,000 DKK);
     SKAT_MDL_001_00352486 (907,200 DKK); SKAT_MDL_001_00352471 (1,275,750 DKK);
     SKAT_MDL_001_00352735 (4,401,000 DKK); SKAT_MDL_001_00353024 (1,353,357 DKK).
110. See e.g. ACER_00000190; ACER_00001016 – 25; ACER_00001026; ACER_00001065; ED&F-00039750 -
     ED&F-00039785 (AIG Plan); ED&F-00040756 - ED&F-00040778 (Riverside Plan).
111. ACER_00002224; ACER_00016709 (AIG Plan Goal SLA); ACER_00016920 (Riverside Plan Goal SLA).

                                              - 83 -
     Case 1:18-md-02865-LAK             Document 790          Filed 04/22/22      Page 84 of 86




        380.    Goal transferred the remainder of the funds from the refund payments to ED&F,

which credited the Plans’ custodial accounts with those amounts.112

        381.    The AIG Plan received the full amount of the refunds paid by SKAT following

SKAT’s receipt of the AIG Plan’s withholding tax reclaim applications, minus the fee deducted

by Goal. 113

        382.    The Riverside Plan received the full amount of the refunds paid by SKAT

following SKAT’s receipt of the Riverside Plan’s withholding tax reclaim applications, minus

the fee deducted by Goal.114

XXI. Fees and Payments to ED&F

        383.    In addition to financing fees, ED&F charged the AIG Plan and the Riverside Plan

Custody and Clearance fees (the “Custody and Clearance Fees”) for custody and brokerage

services provided in relation to transactions it facilitated for the Plans. 115

        384.    ED&F charged a total of 11,307,554.73 DKK in Custody and Clearance Fees to

the AIG Plan, as follows: 116

                                                                    ED&F
                                           ED&F Custody           Clearance
           Security                         Fee (DKK)           Charge (DKK)         Total (DKK)
 Coloplast A/S - B                            35,000.00            225,361.27          260,361.27
 TDC A/S                                     110,000.00          1,069,829.00        1,179,829.00
 Danske Bank A/S                             155,000.00          1,242,262.09        1,397,262.09
 Novo Nordisk A/S - B                        157,500.00          2,838,020.00        2,995,520.00
 A.P. Møller Mærsk A/S - B                    14,000.00             64,223.00           78,223.00
 Tryg A/S                                     13,500.00            354,411.52          367,911.52
 TDC A/S                                      51,000.00            387,337.67          438,337.67
 Chr. Hansen Holding A/S                           -             2,731,236.23        2,731,236.23
 Coloplast A/S - B                           112,500.00            587,554.35          700,054.35

112. ED&F-00039750 - ED&F-00039785 (AIG Plan); ED&F-00040756 - ED&F-00040778 (Riverside Plan); see
     also supra n.110.
113. AIG Interrog. Resp.. Nos. 1, 13, and 14.
114. Riverside Interrog. Resp. Nos. 1, 13, and 14.
115. ED&F-00039750; ED&F-00040756.
116. ED&F-00039750.

                                                 - 84 -
       Case 1:18-md-02865-LAK       Document 790        Filed 04/22/22    Page 85 of 86




 Novozymes A/S - B                               -           567,670.04        567,670.04
 A.P. Møller Mærsk A/S - B                  78,840.00        512,309.56        591,149.56
 Total                                                                      11,307,554.73

        385.   ED&F charged a total of 5,938,663.52 DKK in Custody and Clearance Fees to the

Riverside Plan, as follows: 117

                                             ED&F              ED&F
                                          Custody Fee        Clearance
            Security                        (DKK)         Charge (DKK)        Total (DKK)
 TDC A/S                                   47,300.00       725,144.00         772,444.00
 Danske Bank A/S                           40,000.00       536,226.45         576,226.45
 Novo Nordisk A/S - B                      90,000.00      1,621,726.00       1,711,726.00
 Tryg A/S                                  47,250.00       609,895.37         657,145.37
 Dampskibsselskabet Norden A/S             16,125.00       270,201.08         286,326.08
 Coloplast A/S - B                         34,000.00       534,638.98         568,638.98
 TDC A/S                                   20,000.00       126,068.86         146,068.86
 DSV A/S                                   13,600.00         33,441.37          47,041.37
 Danske Bank A/S                           66,000.00       490,729.56         556,729.56
 Pandora A/S                               27,000.00       141,922.35         168,922.35
 Novo Nordisk A/S - B                      70,000.00       377,394.50         447,394.50
 Total                                                                       5,938,663.52

XXII. Specific Facts as to Robert Crema

        386.   On December 1, 2015, Stacey Kaminer provided SKAT with copies of the Plan

Document for the AIG Plan. 118

        387.   Crema executed the AIG Plan Document as a partner of the plan sponsor,

American Investment Group of New York, L.P. 119

        388.   Crema also executed the AIG Plan Document as trustee of the AIG Plan. 120

        389.   On December 1, 2015, Stacey Kaminer provided SKAT with a copy of the

Security and Set-Off Deed agreed to by the AIG Plan and ED&F on June 21, 2012.121



117.   ED&F-00040756.
118.   SKAT MDL 001 007792.
119.   SKAT_MDL_001_007793 at SKAT_MDL_001_007864.
120.   SKAT_MDL_001_007793 at SKAT_MDL_001_007864.
121.   SKAT_MDL_001_007875.

                                            - 85 -
     Case 1:18-md-02865-LAK         Document 790        Filed 04/22/22    Page 86 of 86




        390.   On October 28, 2016, SKAT issued its final decision concerning the AIG Plan’s

tax refund request dated August 13, 2015.122

        391.   In SKAT’s October 2016 final decision concerning the AIG Plan’s tax refund

request dated August 13, 2015, SKAT described the AIG Plan as a sole-participant pension

plan. 123




122. SKAT_MDL_001_008102.
123. SKAT_MDL_001_008102.

                                               - 86 -
